                 Case 6:20-cv-00253-AA                 Document 78-1         Filed 05/04/20    Page 1 of 90
To: David P.R. Symes Littler Mendelson   Page 1 of 9   2020-04-08 20:08:14 (GMT)                 14157043294 From: Andrew Clark




                                   IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF OREGON
                                              Eugene, Oregon Division
                                                                                      Wells Fargo: external attorneys
                                                                                      lied, cheated and stole from us
                                                                                      and tried to hide it. They failed.
           Andrew Clark, Plaintiff
            3270 Stoney Ridge Rd.
            Eugene, OR 97405 541.510.3915
            OperationSunriseLaw@gmail.com                    Civil Complaint Case: 6.ev-20~253~aa
                                                             Motion for Judicial Notice of Adjudicative Facts
            Wells Fargo and Company                          Per Federal Rules of Evidence 201(b)(2)
            420 Montgomery St. San Francisco, CA 94163
                                                             and Clarification of “Claim for Relief”
            as Voluntary or Mandatory
            Intervener for Plaintiff                         March 18, 2020 Crime Report to Billy Williams,
            (Subject to FRCP 24)
                                                             U.S. Attorney for Oregon. (8 Page Exhibit)
                                                             Hand-Delivered at Eugene Office and filed with
                                                             Court as Correspondence.


           vs. Defendants:
                                                             This Motion Filed March 26, 2020
            Wells Fargo Bank ct al

                              Motion for Judicial Notice of Adjudicative Facts
                                   and Clarification of Claim for Relief
            My complaint accurately summarized what each Defendant did (or failed to do) that caused
            and concealed the root crime of the enterprise. No corporate crime is more rare and serious
            than physically tampering with a federally-insured bank worker with two active federal
            investigations in process who had also been admitted to local FBI to deliver crime reports due
            to indications of retaliation. The nature of the tampering is violent and ghastly as I describe.

           Such cases gel prosecuted similarly to a lurid case of aggravated murder only with more
           vengeance and a much wider net, which is why so many Defendants are listed. Most of you
           helped conceal it because you were lied to by the perpetrators (or by others they coerced or
           influenced.) In my case, special attention should be given to complete role of Defendant Erik
           Hasselman. Special attention must be given to what motivated him or coerced him because
           his personal involvement and subsequent corruption of all controls is absolutely epic for a
           Major Violent Crimes Prosecutor.

           An employee in our local ‘pre-trail services’ office named “Brian Snazo” supervises the Risk
           Assessment Tool (RAT) in Lane County. He and the RAT system electronic archives will most
           likely reveal my case “it is not their first rodeo.” Mr. Snazo is not currently a Defendant.

            Signed and Sworn to as Fact: Andrew Clark, Plaintiff
            3270 Stoney Ridge Rd. Eugene OR 97405 541.510.3915 OperationSunriseLaw(5)gmail.eom




                                                       EXHIBIT 1 Page 1 of 90
                 Case 6:20-cv-00253-AA                 Document 78-1         Filed 05/04/20   Page 2 of 90
To: David P.R. Symes Littler Mendelson   Page 2 of 9   2020-04-08 20:08:14 (GMT)                14157043294 From: Andrew Clark




            March 18, 2020                                                            Filed as Exhibit-Motion to Take
            Billy Williams, United States Attorney tor Oregon
                                                                                      Judicial Notice
            1000 SW 3rd Ave Ste 600 Portland OR 97204                                 6.20.cv.253.aa
            c/o Eugene OR Office in Wayne Morse Courthouse                            March 26, 2020

                                   FEDERAL MAJOR VIOLENT CRIME REPORT
                                Repeated, Physical Tampering of a Federal Witness in Active
                        Department of Labor and Office of Comptroller of Currency Investigations.
                      Obstruction of Justice via Rampant Public Coriu.pti.on Including Mobbs Act Violations.
                       Novel Crimes: Deliberate, Knowing Use of Family Courts as a Means of Tampering,
                    Fraudulent and Coordinated Use of Local, State, and Federal Justice Systems to Obstruct.

            My civil complaint 6.20.cv.253.aa does a very good job of documenting actions against me and linking
            them to my employment at Wells Fargo. But unless it is read carefully, it could leave a reader
            wondering “what crimes could possibly have been committed so extreme that a group of people would
            be used to conceal it by committing a series of RICO crimes including the use of courts to obstruct
            justice? What evidence could a lowest-level worker possibly have of it?”

            1. A police repoit is a very special and perfect type of evidence. Attached is a page from a Eugene, OR
            police report dated July 19, 2011. It is Page 82 of the civil complaint. It is from before all the RICO
            crimes were committed against me. It shows Wells Fargo corporate security agent Martin Ogno was
            aware I had filed reports with Federal Bureau-Investigation (FBI) in Eugene OR, therefore Wells Fargo
            was aware. Most shocking: Eugene Police told Ogno I considered his “well-being visit at my home at
            night by uniformed SWAT police” to be retaliation. Ogno told Eugene Police to ‘fuhggcdaboutif and
            explains he had contacted FBI and that FBI did not lake my (just filed in-person and sworn-to well-
            evidenced, voluminous) reports seriously. Think of that horrific violation of City of Eugene Police.

            2. After that is a printout of Department of Justice publication “Criminal Resource Manual 1729”. It
            has a standard archive disclaimer but the content is valid, last updated January 2020. A person who
            reports to a federal law enforcement agency such as FBI is a Federal Witness. Tampering with a
            Federal Witness is a violation of 18 USC 1512, particularly when Federal investigations are in process.

            3. Two different Federal Investigations were in process. Next exhibits are proof from Department of
            Labor and Office of Comptroller of Currency of recently accepted Federal investigations. The PACER
            system records for SI.APP-suit 6.11 xv.06248.ho and my subsequent civil actions show exactly how the
            courts were used to bypass discovery of the above crimes.

            4. My civil complaint enumerates and documents the RICO crimes committed against me. Please note
            that I presented Tampering using false arrest and jail as violations of 18 USC 1201 by Wells Fargo/
            Ogletree Deakins: armed kidnapping for political or economic motivations. Use of police to tamper
            with a Federal Witness is absolutely gangland. It is as bad it gets, other than the novel crimes listed
            above and detailed in die civil complaint.

            5. Related but not relevant to the crime report: I motioned for Wells Fargo and Company to intervene.
            It is in PACER. It is possible dial everything that happened was actually a Wells Fargo & Co. project.
            A metaphor for that is found on www.TiieEugeneBiairProject.com. I placed the Circuit Court and
            Police a/v on www.RisePatriot.com and www.WellsFargoWitz.com (family court).

            Thank you from Andy Clark 3270 Stoney Ridge Rd. Eugene OR 97405 541.510.3915 (exhibits follow)




                                                       EXHIBIT 1 Page 2 of 90
                 Case 6:20-cv-00253-AA                       Document 78-1                  Filed 05/04/20           Page 3 of 90
To: David P.R. Symes Littler Mendelson      Page 3 of 9       2020-04-08 20:08:14 (GMT)                                  14157043294 From: Andrew Clark




                                                                                                                                   ?:4 of 4
                                                                                                                                ii-crm
                        was Officer Masks who was there with us during the contacts and told Clark that Officer Pieske concurred
                        with my findings in the matters. I asked Clark if there was anything else I could do for him. Clark said
                        mere was nothing else I could do for him and he left city hall.
                                                                                        %
                        Also per Sergeant Klinko's request, I contacted Marty Ogho, head of security for Wells Fargo. 1 called
                        Ogno and told him I had contacted Clark and that he had been’a.dvised he was trespassed from ail Wells
                        Fargo properties. I also told Ogno Clark was concerned he had $24,000 in an account at Wells Fargo.
                        Ogno said-he had looked It up and though Clark only had about $200 in an account, but that he would
                        dose Clark’s account and mall him a check with the remaining balance. Ogno asked how the contact
                        went, i told Ogno that Clark felt -he was being retaliated upon for contacting the FSI and CIA with Wells
                        Fargo's wrong doings. Ogno said that he had been in contact with the FBI and told me that the FBI did
        »»>             not take Clark's reports seriously.
        FBI would       At approximately 1900 hours, dispatch advised that Clark had left a phone number for me.to call him back
        not say that.   so he couid further discuss his desire to press charges against Weils Fargo for filing a false police report. I
                        requested Sergeant Magnuson respond to the report writing room where I was working on reports so I
        Notice no       could discuss the situation with him before calling Clark back. While I was explaining.the situation to
                        Sergeant Magnuson, Dispatch advised that Clark had called back 3.more times requesting contact. I then
        person at       asked Sergeant Magnuson if he would contact Clark in my behalf in that I was unable to. effectively
        FBI is          communicate to Clark that Wells Fargo had broken no laws.and. that they had the right to trespass Clark
        referenced,     from their properties.    •


       It is corruption
       of FBI proceSS&Si,jewec} by Fro: Pieske                     112
       and obstruction.                Name                      Badge


       BTW, I did
       report to CIA via
       nationwide fax#
       and consulate
       offices in
       Bangalore and
       Flyderabad India
       due to concerns
       related to
       system
       development
       work on the
       CORE/ELF
       system I had to
       use here that
       was being badly
       programmed in
       India.




                    Esch
                                                                   07-19-11 2330 Hours                      Approved-By: Magnuson 122
                    >623




               Civil Case 6-20-CV-000253 Complaint Filed February 14,2020 Clark vs. Wells Fargo et al                       Page 82 of 131




                                                             EXHIBIT 1 Page 3 of 90
                      Case 6:20-cv-00253-AA                                                          Document 78-1         Filed 05/04/20   Page 4 of 90
To: David P.R. Symes Littler Mendelson                                                 Page 4 of 9   2020-04-08 20:08:14 (GMT)               14157043294 From: Andrew Clark


    3/16/2020                   1729. Protection Of Government Processes --Tampering With Victims, Witnesses, Or Informants--18 U.S.C. 1512 | JM | Department of...


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                 wb^Wrt from the U.S. Department of Justice website. The information here may be outdated and links may no longer
                     contact webmaster@usdoj.gov if you have any questions about the archive site.




           1729. PROTECTION OF GOVERNMENT PROCESSES - TAMPERING WITH VICTIMS, WITNESSES, OR
           INFORMANTS - 18 U.S.C. 1512

         Section 1512 of Title 18 constitutes a broad prohibition against tampering with a witness, victim or informant. It prescribes conduct intended to
         illegitimately affect the presentation of evidence in Federal proceedings or the communication of information to Federal law enforcement officers. It
         applies to proceedings before Congress, executive departments, and administrative agencies, and to civil and criminal judicial proceedings, including
         grand jury proceedings. See 18 U.S.C. § 1515(a)(1). In addition, the section provides extraterritorial Federal jurisdiction over the offenses created
         therein, See 18 U.S.C. § 1512(g); 128 Cong. Rec. H8469 (daily ed. Oct. 1,1980); H. R. Rep. No, 1369,96th Cong., 2d Sess. 20-22 (1980).

         The express prohibitions against tampering with witnesses and parties contained in former 18 U.S.C. §§ 1503 and 1505, are now in paragraphs (b)(1)
         and (2) of 18 U.S.C. § 1512. (As discussed in this Manual at 1724 and 1727. the omnibus clauses of these provisions still cover witnesses.) All forms of
         tampering with informants covered in former 18 U.S.C. § 1510, with the exception of tampering by means of bribery, are now proscribed by 18 U.S.C. §
         1512(b)(3). Tampering with informants by means of bribery remains an 18 U.S.C. § 1510 offense.

         Section 1512 augments the prohibitions of the former law in several important respects. First, section 1512(b)(3) sweeps more broadly than former 18
         U.S.C. § 1510 and expands the class of informants protected by Federal law. For example, it protects individuals having information concerning a
         violation of a condition of probation, parole, or bail whether or not that violation constitutes a violation of any other Federal criminal statute. Second, it
         protects individuals seeking to provide information to Federal judges or Federal probation and pretrial services officers.

         Section 1512 also includes attempts in its list of prohibited conduct, There is no requiremenlfoat the defendants actions have the intended obstructive
         effect. See, e.g., United States v. Murray, 751 F.2d 1528 (9th Cir.), cert, denied, 474 U.S. 979 (1985); United States v. Wilson, 798 F.2d 55 (4th Cir.
         1986), cert, denied, 479 U.S. 1039 (1987). As amended by the Criminal Law and Procedure Technical Amendments Act of 1988, Pub. L. 99-846, it is
         dear that the killing of a witness or attempts to kill a witness in order to prevent his/her testimony constitutes an act of force intended to "influence the
         witness' testimony." See 18 U.S.C. § 1512(a). This change was necessitated by one court interpreting former § 1512 as not reaching an act of
         attempted murder that was intended to prevent a witness from testifying. See United States v. Dawlett, 787 F.2d 771 (1st Cir. 1986).

         The section specifically abolishes the pending proceeding requirement of 18 U.S.C. §§ 1503 and 1505. The provision also eliminates ambiguity about
         the class of individuals protected. Although the former law protected witnesses, parties, and informants, it was unclear whether that law reached the
         intimidation of third parties (for example, the spouse of a witness) for the purpose of intimidating the principal party. Section § 1512 of Title 18 plainly
         covers such conduct, for it speaks of conduct directed toward "another person.” See 128 Cong. Rec. H8203 (daily ed. Sept. 30,1982).

         Section 1512 protects potential as well as actual witnesses. With the addition of the words "any person,” it is dear that a witness is "one who knew or
         was expected to know material facte and was expected to testify to them before pending judicial proceedings.” United States v. DiSaivo, 631 F.Supp.
         1398 (E.D. Pa. 1986), atfd, 826 F.2d 1054 (3d Cir. 1987). Under § 1512, an individual retains his/her states as a witness even after testifying. United
         States V. Wilson, 796 F.2d 55 (4th Cir. 1986), cert, denied, 479 U.S. 1039 (1987) (protection of witness under § 1512 continues throughout the trial);
         United States v. Patton, 721 F.2d 159 (6th Cir. 1983) (witness retains states while defendant’s motion for a new trial Is pending); United States v.
         Chandler, 804 F.2d 972 (5th Cir. 1979) (witness retains status while case is pending on direct appeal). Cf United States v. Hisken, 788 F.2d 1361 (8th
         Cir.), cert, denied, 479 U.S. 923 (1986) (party was a witness after asserting his Fifth Amendment privilege and being dismissed from the stand since he
         could be recalled at any time).

         Section 1512 of Title 18 contains two significant additions to the types of tampering barred by Federal law. First, it forbids "misleading conduct," as
         defined In 18 U.S.C. § 1515. Such conduct was not covered in those circuits that had narrowly construed the omnibus clauses of 18 U.S.C. §§ 1503
         and 1505 under the rule of ejusdem generis. See United States v. Metcalf, 435 F.2d 754 (9th Cir. 1970); United States v. Essex, 407 F.2d 214 (6th Cir.
         1969). see generally, 128 Cong. Rec. H8203 (daily ed. Sept. 30,1982). Second, 18 U.S.C. § 1512 makes intentional harassment a misdemeanor. This
         offense is intended to reach conduct less egregious than the corrupt, threatening or forceful conduct required fora violation of former 18 U.S.C. §§ 1503
         and 1505. Harassing conduct has been defined as that intended to badger, disturb or pester. Wilson, supra.

         Despite its coverage, section 1512 was not intended to reach all forms of witness tampering, its coverage is limited to tampering accomplished by the
         specific means enumerated in the provision. United States v. King, 762 F.2d 232 (2d Cir. 1985), cert, denied, 475 U.S. 1018 (1986). The more
         imaginative types of witness tampering as well as forms of tampering defying enumeration were still prohibited by the omnibus provision of § 1503.
         United States v. Lester, 749 F.2d 1288 (9th Cir. 1984).

         It is unclear whether 18 U.S.C. § 1512(b)(3) was intended to widen the prohibition against obstructing investigations contained in former 18 U.S.C.
         § 1510 to include investigations that are not per se criminal in nature, such as an FAA investigation of an aircraft accident, or a Senate committee
         investigation of the Tucking industry. A comparison of the difference in phraseology between 18 U.S.C. §§ 1510 and 1512(b)(3), however, indicates that
         those differences are differences of style, not substance, and that no such expansion was intended. Section 1510 proscribes interference with “the
         communication of information relating to a violation of any criminal statute of the United States..." to a (Federal) criminal investigator; 18 U.S.C. §
         1512(b)(3) proscribes interference with "the communication to a (Federal) law enforcement officer... of information relating to the commission or
         possible commission of a Federal offense." There is nothing to indicate teat Congress intended to depart from the generally accepted meaning of "law
         enforcement” as criminal law enforcement and of "offense" as criminal violation. See 18 U.S.C. § 1515(4); 128 Cong. Rec. H8203 (daily ed. Sept. 30,


     https://www.justice.gov/archives/jm/criminal-resource-manual-1729-protection-government-processes-tampering-victims-witnesses-or                                     1/2



                                                                                                     EXHIBIT 1 Page 4 of 90
                    Case 6:20-cv-00253-AA                           Document 78-1                    Filed 05/04/20                Page 5 of 90
To: David P.R. Symes Littler Mendelson            Page 5 of 9         2020-04-08 20:08:14 (GMT)                                        14157043294 From: Andrew Clark


    3/16/2020          1729. Protection Of Government Processes --Tampering With Victims, Witnesses, Or informants--18 U.S.C. 1512 | JM | Department of...
         1982). Accordingly, prosecutions for interference with legislative or administrative investigations that have not taken on the character of a criminal
         investigation should be brought under the omnibus clause of 18 U.S.C. § 1505. See this Manual at 1726.

         [cited in JM 9-69.1001

         < 1728. Protection Of Government Processes - Obstruction Of                  UR         1730. Protection Of Government Processes - "Official Proceeding8
                                        18 U.S.C. 1510                                                                           Requirement - 18 U.S.C. 1512 >
                                                                                                                                             Updated January 17, 2020




     https://www.justice.gov/archives/jm/criminal-resource-manual-1729-protection-government-processes-tampering-victims-witnesses-or                                   2/2



                                                                     EXHIBIT 1 Page 5 of 90
                  Case 6:20-cv-00253-AA                Document 78-1            Filed 05/04/20          Page 6 of 90
To: David P.R. Symes Littler Mendelson   Page 6 of 9    2020-04-08 20:08:14 (GMT)                          14157043294 From: Andrew Clark
                                                                                                                         (34 of 334)
                           Case: 17-35247, 06/21/2017, ID: 10482013, DktEntry: 6-1, Page 94 of 295




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                US. DEPARTMENT OF LABOR                          Oecupatiosvai Safety & Hearth Administration
                                                                 HU Third Avenue,Suite 71S
                                                                 Seattle, Washington 98101 - 3212



                   July 11, 201!

                   Mr. Andrew Clark
                   3270 Soney Ridge Road
                   Eugene, OR 97405

                   Re: Consumer Financial Protection Act of 2010 Complaint Dated June 19,2011

                   Dear Mr. Clark:

                  This is, to acknowledge receipt of your complaint of refedktion trader the wliiulleMower
                  provision of the Consigner Financial Protection Act of 2010, Section 1057 of the Dodd-
                  Frank Wall Street Reform, aad Consumer Protection Act of 2010,12 U,S,C,A, §.5567 (or,
                  CFPA), which you filed on June 19,2011. Please he advised that OSHA’s jurisdiction to
                  investigate such complaints does not become effective until foe “designated transfer
                  dateC’ pursuant to Sectional 058 and 1062 ofthe Dodd-Frank Act, which the Secretary
                                                                                                          of
                  the Treasury has set as J&fy 21, 201L The relevant sections of the statute can be found at
                  www.whistieblowers.gov.

                  Should you wish to re-file & written CFPA whistleblower complaint on or aftefflly 21st,
                  you may send us another letter with this request. However, in order for OSHA to initiate
                  an investigation, you must provide information that you were retaliated against on or after
                  July 21,2011.

                  In your complaint letter, you also requested to file it under Section 806 of the Sarbanes-
                  Oxley Act (“SOX”). Please note that we have docketed that portion of your complaint as
                  a SOX complaint. The SOX complaint has been assigned to OSHA Investigator, Patricia
                  Brown who can be reached at 206-553-5930, and your employer has been notified about
                  it.                                                                                                                  y

                  •Thank-you for your cooperation.
                                                                                          co.€»a77^ t
                  Sincerely,
                     / \                                                                  (2 C T-aT ) 4 T 3            ^
                  VickyC|oicman                                               A/crT                                 po^
                  Regional Supervisory Investigator
                                                                                                                      f c? /is.


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               Case 17-35247                Clark vs.                                     ibi


                                                       EXHIBIT 1 Page 6 of 90
                    Case 6:20-cv-00253-AA                           Document 78-1                    Filed 05/04/20                 Page 7 of 90
To: David P.R. Symes Littler Mendelson           Page 7 of 9          2020-04-08 20:08:14 (GMT)                                         14157043294 From: Andrew Clark


     3/17/2020                                               Xfinity Connect OCC Case _ 01640244 has been created_ Printout



            do_not_reply@occ.treas.gov <do_not_reply@occ.treas.gov>                                                                     6/29/2011 6:01 AM

            OCC Case # 01640244 has been created.
            To mir99@comcast.net


            6/29/2011

            Re: Case# 01640244

            Dear Andrew Clark:

            This is an automatically generated message. Please do not reply to this email. We are unable to respond to messages sent to this
            address.

            Please keep a copy of this email for your records!

            This email acknowledges receipt of your Online Consumer Complaint form. Based upon your correspondence we have opened a case in
            the OCC's Customer Assistance Group (CAG). Please make note of the case number listed above, and provide the number on any future
            correspondence or contact with our office.

            We are renewing the information you provided, and will contact the bank requesting a response to your issues. In most instances, the
            bank will respond directly to you and copy us in writing. Once you receive the bank's response, it is very important that you carefully
            review their summary and actions taken, if any.

            If the bank has satisfactorily addressed your issues and/or concerns no further action on your part is required. If however, the bank failed
            to address your issues and/or concerns or you disagree with their response, please contact the CAG in writing within 30 days of receipt of
            the bank's letter. Please include in your reply the specific issues that the bank failed to address or, if applicable, the reasons you disagree
            with the bank's assessment. Also, please include any additional documentation that supports your position.

            The OCC examines national banks to ensure their safe and sound financial condition and ensures compliance with applicable banking
            laws, rules and regulations. The CAG was established to assist customers who have questions or complaints involving national banks.
             For additional information on the OCC and CAG please visit our internet site www.helpwithmvbank.aov.

            The CAG offers guidance, and assists consumers in resolving complaints about national banks and their subsidiaries. The CAG is not a
            consumer advocacy or bank advocacy group. The OCC is an administrative agency and we do not have jurisdiction to resolve contractual
            and factual issues. We do not have judicial authority and cannot award damages in excess of a bank's error.

            While complaint processing times may vary, on average you should receive a written response from CAG within 60 days after we have a
            complete file.

            If you would like to check the status of your case online, please click on the following link:
            https://appsec.h6lpwithmvbank.aov/olcc form/checkstatus.aspx or visit www.helpvwthmvbank.aov and click on the Check Case Status
            page.
            Should you have questions, please contact this office at the number listed below.


            Sincerely,

            Customer Assistance Group
            1-800-613-6743


            This message contains confidential information and is intended solely for the use of the individual named. If you are not the named
            addressee you should not disseminate, distribute or copy this e-maii. Please notify the sender immediately by sending an email to
            helPwithmvbank.faQ@.QCC,treas,aov if you have received this e-mail by mistake and delete this e-mail from your system. E-mail
            transmission cannot be guaranteed to be secure or error-free as information could be intercepted, corrupted, lost, destroyed, arrive late or
            incomplete, or contain viruses. The sender therefore does not accept liability for any errors or omissions in the contents of this message,
            which arise as a result of e-mail transmission. If you are not the intended recipient you are notified that disclosing, copying, distributing or
            taking any action in reliance on the contents of this information is strictly prohibited.




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                                                                     EXHIBIT 1 Page 7 of 90
                 Case 6:20-cv-00253-AA                    Document 78-1                   Filed 05/04/20   Page 8 of 90
To: David P.R. Symes Littler Mendelson   Page 8 of 9        2020-04-08 20:08:14 (GMT)                       14157043294 From: Andrew Clark

 10M8/13                                               Phoenix - News - Valley Fever - Print Version


                   Exhibit 1                                                                                                   [■>




   Sheriff Joe Arpaio's Favorite Law Firm,
   Ogletree Deakins, Cost Taxpayers $2.4
   Million — in Just Two Years
   By Sarah Fenske
   Published Wed., May 26 2010 at 8:00 AM
                            The battle for control of Maricopa County - - pitting Sheriff Joe Arpaio and County
                            Attorney Andrew Thomas against the Board of Supervisors, judges, and county
                            administrators -- has been costly to both taxpayers and the parties involved.

                             But it's been a major boon to one local law firm.

                             Ogletree Deakins, a relatively obscure firm specializing in employment law,
                             became Arpaio and Thomas' go-to legal counsel just as the disputes were heating
      L. Eric Dowell,        up. And, according to public records obtained by New Times, the firm has billed
      rainmaker              the county for a staggering $249 million since January 2009.

                        Most of the work had little to do with employment law - - and most of the firm's
    representation has been unsuccessful, legally speaking.
                                                                                                               I
    Ogletree Deakins has fought for the sheriffs right to take over the county's computer system. They
    tried to argue that the supervisors didn't have the right to sweep moneyfromfunds controlled by
    Thomas and Arpaio. They're currently pressing Arpaio's assertion that he shouldn't have to open his
    books to county auditors.

    And, according to the billing records we looked at, it appears likely that Ogletree lawyers may have .]
    even been behind one of Arpaio/Thomas’ biggest embarassments: the criminal charges they filed /
    against the comity's presiding criminal court judge, Gary Donahoe.

    As New Times first reported earlier this month, prosecutors filed criminal charges against Donahoe
    without bothering to seek a grand jury indictment. They simply filed a direct complaint, and attached
    a "probable cause" statement that, almost word for word, matched a complaint that the sheriffs office
    had filed with the Arizona Commission on Judicial Conduct one week before. That complaint, detailing
    a conspiracy theorist's view of Judge Donahoe's conduct, was signed by Arpaio's chief deputy, David
    Hendershott.

    It now appears that Hendershott had some help penning the letter.                                                    2
    According to its billing statements, Ogletree charged the county $27,310 for something titled "MCSO
    State                                                                                             -
                                                         feo-vitn r rJWWlnl itr. IQ                                              V?




                                                          EXHIBIT 1 Page 8 of 90
                  Case 6:20-cv-00253-AA                  Document 78-1                    Filed 05/04/20   Page 9 of 90
To: David P.R. Symes Littler Mendelson   Page 9 of 9       2020-04-08 20:08:14 (GMT)                        14157043294 From: Andrew Clark

 IdO 8/13                                              Phoenix - News - Valley Fever - Print Version

   just one day after Hendershott filed "his" complaint with the judicial conduct commission.

    So did an employment law specialist draft the document that became the basis for the criminal charges
    against the county's presiding criminal court judge? If nothing else, it would explain why the document
    drew guffaws from seasoned prosecutors. Ogletree's lawyers were likely in way over their heads. (And
    really, what was prosecutor Lisa Auhuchon thinking, merely regurgitating Ogletree's letter as a
    criminal complaint?)

   According to the billing statements examined by New Times, Ogletree also advised Andrew Thomas
   on matters involving the State Bar. (That cost the taxpayers $18,929). And, they advised either
   Arpaio or Thomas — the billings aren’t clear -- about issues relating to the selection of a new county
   attorney. (That cost us another $12,762.)

    Finally, Ogletree billed the county a staggering $1.2 million for something described only as "contract
    compliance." County Spokeswoman Cari Gerchick told New Times that county administrators have no
    idea what that means.

    We contacted L. Eric Dowell, a shareholder at Ogletree Deakins and the sheriffs lawyer of choice, to
    ask about the ’’contract compliance" payments, hut we hadn't heard hack by press time. We'll post an
    update if we get an answer.

    In the mean time, looking at the wasted $2.4 million and the unexplained $1.2 million and the tens of
    thousands of dollars for failed legal adventures — well, we never thought we’d say this, but we actually
    miss Dennis Wilenchik. Yes, New Times disagreed with Wilenchik on just about everything. But
    Wilenchik handled some pretty tough cases for Arpaio, not just political crap that should have never
    made its way to a docket.

    And Wilenchik, unlike the sheriffs new $2-millioii“COunsel, actually knew how to win.




                                                                                                                     nJ)
               Civil Case 6-20-CV-000253 Complaint Filed February 14,202<£lark vs. Wells Fargo et al Page 59 of 131

  Nrv"* C        rr¥3«;                     i




                                                          EXHIBIT 1 Page 9 of 90
                Case 6:20-cv-00253-AA              Document 78-1           Filed 05/04/20   Page 10 of 90
To: Steven Seymour Samuels Yoelin Kantor   Page 1 of9 2020-04-08 20:08:16 (GMT)                14157043294 From: Andrew Clark




                                IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF OREGON
                                            Eugene, Oregon Division
                                                                                    Wells Fargo: external attorneys
                                                                                    lied, cheated and stole from us
                                                                                    and tried to hide it. They failed.
           Andrew Clark, Plaintiff
           3270 Stoney Ridge Rd.
           Eugene, OR 97405 541.510.3915
           OperationSunriseLaw@gmail.com                    Civil Complaint Case: 6.ev-20-253~aa
                                                            Motion for Judicial Notice of Adjudicative Facts
           Wells Fargo and Company                          Per Federal Rules of Evidence 201(b)(2)
           420 Montgomery St. San Francisco, CA 94163
                                                            and Clarification of “Claim for Relief”
           as Voluntary or Mandatory
           Intervenor for Plaintiff
                                                            March 18, 2020 Crime Report to Billy Williams,
           (Subject to FRCP 24)
                                                            U.S. Attorney for Oregon. (8 Page Exhibit)
                                                            Hand-Delivered at Eugene Office and filed with
                                                            Court as Correspondence.


           vs. Defendants:
                                                            This Motion Filed March 26, 2020
           Wells Fargo Bank ct al

                            Motion for Judicial Notice of Adjudicative Facts
                                 and Clarification of Claim for Relief
           My complaint accurately summarized what each Defendant did (or failed to do) that caused
           and concealed the root crime of the enterprise. No corporate crime is more rare and serious
           than physically tampering with a federally-insured bank worker with two active federal
           investigations in process who had also been admitted to local FBI to deliver crime reports due
           to indications of retaliation. The nature of the tampering is violent and ghastly as I describe.

           Such cases get prosecuted similarly to a lurid case of aggravated murder only with more
           vengeance and a much wider net, which is why so many Defendants are listed. Most of you
           helped conceal it because you were lied to by the perpetrators (or by others they coerced or
           influenced.) In my case, special attention should be given to complete role of Defendant Erik
           Hasselman. Special attention must be given to what motivated him or coerced him because
           his personal involvement and subsequent corruption of all controls is absolutely epic for a
           Major Violent Crimes Prosecutor.

           An employee in our local ‘pre-trail services’ office named “Brian Snazo” supervises the Risk
           Assessment Tool (RAT) in Lane County. He and the RAT system electronic archives will most
           likely reveal my case “it is not their first rodeo.” Mr. Snazo is not currently a Defendant.

           Signed and Sworn to as Fact: Andrew Clark, Plaintiff
           3270 Stoney Ridge Rd. Eugene OR 97405 541.510.3915 OperationSunriseLaw<SgmaiLcom




                                                    EXHIBIT 1 Page 10 of 90
                Case 6:20-cv-00253-AA               Document 78-1           Filed 05/04/20   Page 11 of 90
To: Steven Seymour Samuels Yoelin Kantor   Page 2 of 9 2020-04-08 20:08:16 (GMT)               14157043294 From: Andrew Clark




           March 18, 2020
                                                                                     Filed as Exhibit-Motion to Take
           Billy Williams, United States Attorney tor Oregon
                                                                                     Judicial Notice
           1000 SW 3rd Ave Ste 600 Portland OR 97204
                                                                                     6.20.cv.253.aa
           c/o Eugene OR Office in Wayne Morse Courthouse
                                                                                     March 26, 2020
                                   FEDERAL MAJOR VIOLENT CRIME REPORT
                                Repeated, Physical Tampering of a Federal Witness in Active
                       Department of Labor and Office of Comptroller of Currency Investigations.
                     Ohsti’uction of Justice via Rampant Public Corruption Including Hobbs Act Violations.
                      Novel Crimes: Deliberate, Knowing Use of Family Courts as a Means of Tampering,
                   Fraudulent and Coordinated Use of Local, State, and Federal Justice Systems to Obstruct.

           My civil complaint 6.20.cv.253.aa does a very good job of documenting actions against me and linking
           them to my employment at Wells Fargo. But unless it is read carefully, it could leave a reader
           wondering ' what crimes could possibly have been committed so extreme that a group of people would
           be used to conceal it by committing a series of RICO crimes including the use of courts to obstruct
           justice? What evidence could a lowest-level worker possibly have of it?”

           1. A police repon is a very special and perfect type of evidence. Attached is a page from a Eugene, OR
           police report dated July 19, 2011. It is Page 82 of the civil complaint. It is from before all the RICO
           crimes were committed against me. Tt shows Wells Fargo corporate security agent Martin Ogno was
           aware I had filed reports with Federal Bureau-Investigation (FBI) in Eugene OR, therefore Wells Fargo
           was aware. Most shocking: Eugene Police told Ogno I considered his “well-being visit at my home at
           night by uniformed SWAT police” to be retaliation. Ogno told Eugene Police to ‘fuhggedaboutit’ and
           explains he had contacted FBI and that FBI did not take my (just filed in-person and sworn-to well-
           evidenced, voluminous) reports seriously. Think of that horrific violation of City of Eugene Police.

           2. Alter that is a printout of Department of Justice publication “Criminal Resource Manual 1729”. It
           has a standard archive disclaimer but the content is valid, last updated January 2020. A person who
           reports to a federal law enforcement agency such as FBI is a Federal Witness. Tampering with a
           Federal Witness is a violation of 18 USC 1512, particulaily when Federal investigations are in process.

           3. Two different Federal Investigations were in process. Next exhibits are proof from Department of
           Labor and Office of Comptroller of Currency of recently accepted Federal investigations. The PACER
           system records for SI.APP-suit 6.11 .cv.06248.ho and my subsequent civil actions show exactly how the
           courts were used to bypass discovery of the above crimes.

           4. My civil complaint enumerates and documents the RICO crimes committed against me. Please note
           that I presented Tampering using false arrest and jail as violations of 18 USC 1201 by Wells Fargo/
           Ogletree Deakins: armed kidnapping for political or economic motivations. Use of police to tamper
           with a Federal Witness is absolutely gangland. Tt is as bad it gets, other than the novel crimes listed
           above and detailed in the civil complaint.

           5. Related but not relevant to the crime report: I motioned for Wells Fargo and Company to intervene.
           It is in PACER. It is possible diat everything that happened was actually a Wells Fargo & Co. project.
           A metaphor for that is found on www.TIieEugeneBiairProject.com, I placed the Circuit Court and
           Police a/v on www.RisePatiiot.com and www.WellsFargoWitz.com (family court).

           Thank you from Andy Clark 3270 Stoney Ridge Rd. Eugene OR 97405 541.510.3915 (exhibits follow)




                                                    EXHIBIT 1 Page 11 of 90
                Case 6:20-cv-00253-AA                      Document 78-1                Filed 05/04/20             Page 12 of 90
To: Steven Seymour Samuels Yoelin Kantor        Page 3 of 9 2020-04-08 20:08:16 (GMT)                                   14157043294 From: Andrew Clark




                                                                                                                                  ?:4of 4
                                                                                                                               n-irm
                       was Officer Pseske wfio was there with us during the contacts and told Clark that Officer. Pieske concurred
                       with my findings in the matters. I asked Clark if there was anything else I could do for him. Clark said
                       mere was nothing else I could do for him and he left city hall.

                         Also per Sergeant Klinko's request, I contacted Marty Oghb, head of security for Wells Fargo. I called
                         Ogno and told him I had contacted Clark and that he had been”advised he was trespassed from all Wells
                         Fargo properties. I also told Ogno Clark was concerned he had $24,000 In an account at Wells Fargo,
                         Ogno said-he had.looked it up and though Clark only had about $200 in an account, but that he would
                         dose Clark’s account and mail him a check with the remaining balance. Ogno asked how the contact
                         went. I told Ogno that Clark felt he was being, retaliated upon for contacting the FBI and CIA with Wells
                         Fargo's wrong doings, Ogno said that he .had been In contact with the FBI and told me that the FBI did
       »»>             . not take Clark's reports seriously.
       FBI would       At approximately 1900 hours, dispatch advised that Clark had left a phone number for me.to call him back
       not say that.   so he could further discuss his desire to press charges against Wells Fargo for filing a false police report. I
                       requested Sergeant Magnuson respond to the report writing room where I was working on reports so I
                       could discuss the situation with him before calling Clark back. While I was explaining the situation to
       Notice no       Sergeant Magnuson, Dispatch advised that Clark had called back 3.more times requesting contact. I then
       person at       asked Sergeant Magnuson if he would contact Clark in my behalf In that I was unable to effectively
       FBI is          communicate to Clark that Wells Fargo had broken no laws and that they had the right to trespass Clark
       referenced.          th*CP™pe*‘es.        ■

       It is corruption
       of FBI proceSSs^iewed by FFO: Pieske                       112
       and obstruction.             Name                        Badge


       BTW, I did
       report to CIA via
       nationwide fax#
       and consulate
       offices in
       Bangalore and
       Flyderabad India
       due to concerns
       related to
       system
       development
       work on the
       CORE/ELF
       system I had to
       use here that
       was being badly
       programmed in
       India.




                   Ssch
                                                                  07-19-11 2330 Hours                      Approved.By: Magnuson 122
                   £623




              Civil Case 6-20-CV-000253 Complaint Filed February 14,2020 Clark vs. Wells Fargo et al                       Page 82 of 131




                                                           EXHIBIT 1 Page 12 of 90
                  Case 6:20-cv-00253-AA                            Document 78-1                     Filed 05/04/20                 Page 13 of 90
To: Steven Seymour Samuels Yoelin Kantor               Page 4 of 9 2020-04-08 20:08:16 (GMT)                                             14157043294 From: Andrew Clark


    3/16/2020          1729. Protection Of Government Processes --Tampering With Victims, Witnesses, Or Informants--18 U.S.C. 1512 | JM | Department of...


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                WKI’^js^f                  from the U.S. Department of Justice website. The information here may be outdated and Sinks may no longer
                    TtMiferWiKsfel1 contact webmaster@usdoj.gov if you have any questions about the archive site.




          1729. PROTECTION OF GOVERNMENT PROCESSES - TAMPERING WITH VICTIMS, WITNESSES, OR
          INFORMANTS - 18 U.S.C. 1512

        Section 1512 of Title 18 constitutes a broad prohibition against tampering with a witness, victim or informant. It proscribes conduct intended to
        illegitimately affect the presentation of evidence in Federal proceedings or the communication of information to Federal law enforcement officers. It
        applies to proceedings before Congress, executive departments, and administrative agencies, and to civil and criminal judicial proceedings, including
        grand jury proceedings. See 18 U.S.C. § 1515(a)(1). In addition, the section provides extraterritorial Federal jurisdiction over the offenses created
        therein. See 18 U.S.C. § 1512(g); 128 Cong. Rec. H8489 (daily ed. Oct. 1,1980); H. R. Rep. No. 1369, 96th Cong., 2d Sess. 20-22 (1980).

        The express prohibitions against tampering with witnesses and parties contained in former 18 U.S.C. §§ 1503 and 1505, are now in paragraphs (b)(1)
        and (2) of 18 U.S.C. § 1512. (As discussed in this Manual at 1724 and 1727, the omnibus clauses of these provisions still cover witnesses.) All forms of
        tampering with informants covered in former 18 U.S.C. § 1510, with the exception of tampering by means of bribery, are now proscribed by 18 U.S.C. §
        1512(b)(3). Tampering with informants by means of bribery remains an 18 U.S.C. § 1510 offense.

        Section 1512 augments the prohibitions of the former law in several important respects. First, section 1512(b)(3) sweeps more broadly than former 18
        U.S.C. § 1510 and expands the class of informants protected by Federal law. For example, it protects individuals having information concerning a
        violation of a condition of probation, parole, or bail whether or not that violation constitutes a violation of any other Federal criminal statute. Second, it
        protects individuals seeking to provide information to Federal judges or Federal probation and pretrial services officers.

        Section 1512 also includes attempts in its list of prohibited conduct. There is no requirement that the defendants actions have the intended obstructive
        effect. See, e.g., United States v. Murray, 751 F.2d 1528 (9th Cir.), cert, denied, 474 U.S. 979 (1985); United States v. Wilson, 796 F.2d 55 (4th Cir.
        1986), ceri. denied, 479 U.S. 1039 (1987). As amended by the Criminal Law and Procedure Technical Amendments Act of 1986, Pub. L. 99-846, it is
        dear that the killing of a witness or attempts to kill a witness in order to prevent his/her testimony constitutes an act of force intended to "influence the
        witness' testimony." See 18 U.S.C. § 1512(a). This change was necessitated by one court interpreting former § 1512 as not reaching an act of
        attempted murder that was intended to prevent a witness from testifying. See United States v. Dawiett, 787 F.2d 771 (1st Cir. 1986).

        The section spedficaiiy abolishes the pending proceeding requirement of 18 U.S.C. §§ 1503 and 1505. The provision also eliminates ambiguity about
        the class of individuals protected. Although the former law protected witnesses, parlies, and informants, it was unclear whether that law reached the
        intimidation of third parties (for example, the spouse of a witness) for the purpose of intimidating the principal party. Section § 1512 of Title 18 plainly
        covers such conduct, for it speaks of conduct directed toward "another person.” See 128 Cong. Rec. H8203 (daily ed. Sept. 30,1982).

        Section 1512 protects potential as well as actual witnesses. With the addition of the words "any person," it is dear that a witness is "one who knew or
        was expected to know material facte and was expected to testify to them before pending judicial proceedings.” United States v. DiSaivo, 631 F.Supp.
        1398 (E.D. Pa. 1986), a/Td, 826 F.2d 1054 (3d Cir. 1987). Under § 1512, an individual retains his/her states as a witness even after testifying. United
        States v. Wilson, 796 F.2d 55 (4th Cir. 1986), cert, denied, 479 U.S. 1039 (1987) (protection of witness under § 1512 continues throughout the trial);
        United States v. Patton, 721 F.2d 159 (6th Cir. 1983) (witness retains status while defendant’s motion for a new trial is pending); United States v.
        Chandler, 804 F.2d 972 (5th Cir. 1979) (witness retains status while case is pending on direct appeal). Cf United States v. Risken, 788 F.2d 1361 (8th
        Cir.), cert, denied, 479 U.S. 923 (1986) (party was a witness after asserting his Fifth Amendment privilege and being dismissed from the stand since he
        could be recalled at any time).

        Section 1512 of'Title 18 contains two significant additions to the types of tampering barred by Federal law. First, it forbids "misleading conduct," as
        defined in 18 U.S.C. § 1515. Such conduct was not covered in those circuits that had narrowly construed the omnibus clauses of 18 U.S.C. §§ 1503
        and 1505 under the rcie of ejusdem generis. See United States v. Metcalf, 435 F.2d 754 (9th Cir, 1970); United States v, Essex, 407 F.2d 214 (6th Cir.
        1969). see generally, 128 Cong. Rec. H8203 (daily ed. Sept. 30,1982). Second, 18 U.S.C. § 1512 makes intentional harassment a misdemeanor. This
        offense is intended to reach conduct less egregious than the corrupt, threatening or forceful conduct required fora violation of former 18 U.S.C. §§ 1503
        and 1505. Harassing conduct has been defined as that intended to badger, disturb or pester. Wilson, supra.

        Despite its coverage, section 1512 was not intended to reach all forms of witness tampering. Its coverage is limited to tampering accomplished by the
        specific means enumerated in the provision. United States v. King, 762 F.2d 232 (2d Cir. 1985), cert, denied, 475 U.S. 1018 (1986). The more
        imaginative types of witness tampering as well as forms of tampering defying enumeration were still prohibited by the omnibus provision of § 1503.
        United States v. Lester, 749 F.2d 1288 (9th Cir. 1984).

        It is unclear whether 18 U.S.C. § 1512(b)(3) was intended to widen the prohibition against obstructing investigations contained in former 18 U.S.C.
        § 1510 to include investigations that are not perse criminal in nature, such as an FAA investigation of an aircraft accident, or a Senate committee
        investigation of the trucking industry. A comparison of the difference in phraseology between 18 U.S.C. §§ 1510 and 1512(b)(3), however, indicates that
        those differences are differences of style, not substance, and that no such expansion was intended. Section 1510 proscribes interference with “the
        communication of information relating to a violation of any criminal statute of the United States..." to a (Fed era!) criminal investigator; 18 U.S.C. §
        1512(b)(3) proscribes interference with 'the communication to a (Federal) law enforcement officer... of information relating to the commission or
        possible commission of a Federal offense." There is nothing to indicate that Congress intended to depart from the generally accepted meaning of "law
        enforcement" as criminal law enforcement and of "offense" as criminal violation. See 18 U.S.C. § 1515(4); 128 Cong. Rec. H82Q3 (daily ed. Sept. 30,


    https://www.justice.gov/archives/jm/criminal-resource-manual-1729-protection-government-processes-tampering-victims-witnesses-or                                              1/2



                                                                    EXHIBIT 1 Page 13 of 90
                  Case 6:20-cv-00253-AA                           Document 78-1                    Filed 05/04/20                Page 14 of 90
To: Steven Seymour Samuels Yoelin Kantor              Page 5 of 9 2020-04-08 20:08:16 (GMT)                                           14157043294 From: Andrew Clark


    3/16/2020         1729. Protection Of Government Processes --Tampering With Victims, Witnesses, Or Informants--18 U.S.C. 1512 | JM | Department of...
        1982). Accordingly, prosecutions for interference with legislative or administrative investigations that have not taken on the character of a criminal
        investigation should be brought under the omnibus clause of 18 U.S.C. § 1505. See this Manual at 1726.

        [cited in JM 9-69.1001

        < 1728. Protection Of Government Processes - Obstruction Of                  UR         1730. Protection Of Government Processes - "Official Proceeding1’
        Federal Criminal Investigation - 18 U.S.C, 1510                                                                         Reouirement- 18 U.S.C. 1512 >
                                                                                                                                            Updated January 17, 2020




    https://www.justice.gov/archives/jm/criminal-resource-manual-1729-protection-government-processes-tampering-victims-witnesses-or                                   2/2



                                                                   EXHIBIT 1 Page 14 of 90
                Case 6:20-cv-00253-AA               Document 78-1             Filed 05/04/20           Page 15 of 90
To: Steven Seymour Samuels Yoelin Kantor   Page 6 of 9 2020-04-08 20:08:16 (GMT)                         14157043294 From: Andrew Clark
                                                                                                                        (94 of 334)
                         Case: 17-35247, 06/21/2017, ID: 10482013, PktEntry: 6-1, Page 94 of 295


               US. DEPARTMENT OF LABOR                          Occupational Safety & Health Administration
                                                                                                                  /&£
                                                                                                                 A-j
                                                                JII! Third Avenue, Suite 7t5
                                                                Seattle, Washington 9S10I - 3212



                  July 11, 2011

                  Mr. Andrew Clark
                  3270 Soney Ridge'Road
                  Eugene, OR 97405

                  Re: Consumer Financial Protection Act of 2010 Complaint Dated June 19,2011

                  Dear Mr, Clark:

                 This is to ackno wledge receipt of your complaint of retaliation under the whlsUeHowet
                 provision of'the Consumer Financial Protection Act of 2010, Section 1057 of the Dodd-
                 Frank Wall Street Reform and Consumer Protection Act of'2010,12 U.S.C.A. § 5567 (or,
                 CFPA), which you tiled on June 19,2011. Please, he advised that OSIJA’s jurisdiction to
                 investigate such complaints does not become effective until the “designated transfer
                 date. pursuant to Section|^D58 and 1062 ofthe Dodd-Frank Act, which the Secretary
                        *»■




                                                                                                         of
                 the Treasury has set as July 21, 201L The relevant sections of the statute can be found at
                 www.whistIeblowers.gov.

                 Should you wish to re-file -a written CFPA wbistk&lpwer complaint.on'.or afie?%fy 21st,.
                 you may send us .another letter with this request. However, in tmierfor OSHA to initiate
                 an investigation, you must provide information that you were retaliated against on or after
                 My 21,2011.

                 In your complaint letter, you also requested to file it under Section 806 of the Sarbanes-
                 Oxley Act (“SOX”). Please note that we have docketed that portion of your complaint as
                 a SOX complaint. The SOX complaint has been assigned to OSHA Investigator, Patricia
                 Brown who can be reached at 206-553-5930, and your employer has been notified about
                 it.

                 Thank-you tor your cooperation.

                 Sincerely,
                                                                                 £<? CO<,A/7fre V
                    /   y                                                                (2 € f-A'i > a T i ^ ^

                 Vi cky (Jol cman
                 Regional Supervisory Investigator
                                                                             A/oY
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                                                                     OcGU{)attQna{                     f-e/RT
                                                  OSHA               Safety and Hoaiib
                                                                     Administration
                                                             www.oshs.gow
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              Case 17-35247                Clark vs.                                     ibi

                                                    EXHIBIT 1 Page 15 of 90
                    Case 6:20-cv-00253-AA                         Document 78-1                    Filed 05/04/20                 Page 16 of 90
To: Steven Seymour Samuels Yoelin Kantor              Page 7 of 9 2020-04-08 20:08:16 (GMT)                                            14157043294 From: Andrew Clark


    3/17/2020                                               Xfinity Connect OCC Case _ 01640244 has been created_ Printout




           do_not_reply@occ.treas.gov <do_not_reply@occ.treas.gov>                                                                     6/29/2011 6:01 AM

            OCC Case # 01640244 has been created.
           To mir99@comcast.net


           6/29/2011

            Re: Case# 01640244

            Dear Andrew Clark:

           This is an automatically generated message. Please do not reply to this email. We are unable to respond to messages sent to this
           address.

            Please keep a copy of this email for your records!

           This email acknowledges receipt of your Online Consumer Complaint form. Based upon your correspondence we have opened a case in
           the OCC's Customer Assistance Group (CAG). Please make note of the case number listed above, and provide the number on any future
           correspondence or contact with our office.

           We are reviewing the information you provided, and will contact the bank requesting a response to your issues. In most instances, the
           bank will respond directly to you and copy us in writing. Ones you receive the bank's response, it is very important that you carefully
           review their summary and actions taken, if any.

           If the bank has satisfactorily addressed your issues and/or concerns no further action on your part is required. If however, the bank failed
           to address your issues and/or concerns or you disagree with their response, please contact the CAG in writing within 30 days of receipt of
           the bank's letter. Please include in your reply the specific issues that the bank failed to address or, if applicable, the reasons you disagree
           with the bank's assessment. Also, please include any additional documentation that supports your position.

           The OCC examines national banks to ensure their safe and sound financial condition and ensures compliance with applicable banking
           laws, rules and regulations. The CAG was established to assist customers who have questions or complaints involving national banks.
            For additional information on the OCC and CAG please visit our internet site www.hslpwithmvbank.aov.

           The CAG offers guidance, and assists consumers in resolving complaints about national banks and their subsidiaries. The CAG is not a
           consumer advocacy or bank advocacy group. The OCC is an administrative agency and we do not have jurisdiction to resolve contractual
           and factual issues. We do not have judicial authority and cannot award damages in excess of a bank's error.

           While complaint processing times may vary, on average you should receive a written response from CAG within 60 days after we have a
           complete file.

            If you would like to check the status of your case online, please click on the following link:
            https://appsQC.heipwithmvbank.aov/olcc form/checksiatus.aspx or visit www.helpvwthmvbank.Qov and click on the Check Case Status
            page.
            Should you have questions, piease contact this office at the number listed below.


            Sincerely,

            Customer Assistance Group
            1-800-613-6743


           This message contains confidential information and is intended solely for the use of the individual named. If you are not the named
           addressee you should not disseminate, distribute or copy this e-maii. Please notify the sender immediately by sending an email to
           heiPwithmvbank.faa@occ.treas.QQv if you have received this e-maii by mistake and delete this e-maii from your system. E-mail
           transmission cannot be guaranteed to be secure or error-free as information could be intercepted, corrupted, lost, destroyed, arrive late or
           incomplete, or contain viruses. The sender therefore does not accept liability for any errors or omissions in the contents of this message,
           which arise as a result of e-mail transmission. If you are not the intended recipient you are notified that disclosing, copying, disfributing or
           faking any action in reliance on the contents of tills information is strictly prohibited.




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                                                                   EXHIBIT 1 Page 16 of 90
                Case 6:20-cv-00253-AA               Document 78-1                   Filed 05/04/20   Page 17 of 90
To: Steven Seymour Samuels Yoelin Kantor   Page 8 of 9 2020-04-08 20:08:16 (GMT)                       14157043294 From: Andrew Clark

 10M8/13                                          Phoenix - News - Valley Fever - Print Version


                  Exhibit 1




   Sheriff Joe Arpaio's Favorite Law Firm,
   Ogletree Deakins, Cost Taxpayers $2.4
   Million — in Just Two Years
   By Sarah Fenske
   Published Wed., May 26 2010 at 8:00 AM
                           The battle for control of Maricopa County - - pitting Sheriff Joe Arpaio and County
                           Attorney Andrew Thomas against the Board of Supervisors, judges, and county
                           administrators -- has been costly to both taxpayers and the parties involved-

                           But it's been a major boon to one local law firm.

                           Ogletree Deakins, a relatively obscure firm specializing in employment law,
                           became Arpaio and Thomas’ go-to legal counsel just as the disputes were heating
      L. Eric Dowell,
                           up. And, according to public records obtained by New Times, the firm has hilled
      rainmaker            the county for a staggering $249 million since January 2009.

                        Most of the work had little to do with employment law - - and most of the firm's
    representation has been unsuccessful, legally speaking.
                                                                                                          I
   Ogletree Deakins has fought for the sheriffs right to take over the county's computer system. They
   tried to argue that the supervisors didn't have the right to sweep money from funds controlled by
   Thomas and Arpaio. They're currently pressing Arpaio's assertion that he shouldn't have to open his
   books to county auditors.

    And, according to the billing records we looked at, it appears likely that Ogletree lawyers may have
    even been behind one of Arpaio/Thomas’ biggest embarassments: the criminal charges they filed
    against the comity's presiding criminal court judge, Gary -Donahue.

    As New Times first reported earlier this month, prosecutors filed criminai charges against Donahoe
    without bothering to seek a grand jury indictment. They simply filed a direct complaint, and attached
    a "probable cause" statement that, almost word for word, matched a complaint that the sheriffs office
    had filed with the Arizona Commission on Judicial Conduct one week before. That complaint, detailing
    a conspiracy theorist's view of Judge Donahoe's conduct, was signed by Arpaio's chief deputy, David
    Hendershott.

    It now appears that Hendershott had some help penning the letter.                                               2-/
    According to its billing statements, Ogletree charged the county $27,310 for something titled "MCSO
    State                                                                                             -
                                                             r rJWWlnl it.. IQ                                              V?




                                                     EXHIBIT 1 Page 17 of 90
                Case 6:20-cv-00253-AA               Document 78-1                   Filed 05/04/20   Page 18 of 90
To: Steven Seymour Samuels Yoelin Kantor   Page 9 of 9 2020-04-08 20:08:16 (GMT)                       14157043294 From: Andrew Clark

 1008/13                                          Phoenix - News - Valley Ferer - Print Version

   just one day after Hendershott filed "his" complaint with the judicial conduct commission.

    So did an employment law specialist draft the document that became the basis for the criminal charges
    against the county's presiding criminal court judge? If nothing else, it would explain why the document
    drew guffaws from seasoned prosecutors. Ogletree's lawyers were likely in way over their heads. (And
    really, what was prosecutor Lisa Aubuchon thinking, merely regurgitating Ogletree's letter as a
    criminal complaint?)

   According to the billing statements examined by New Times, Ogletree also advised Andrew Thomas
   on matters involving the State Bar. (That cost the taxpayers $18,929). And, they advised either
   Arpaio or Thomas — the billings aren’t clear — about issues relating to the selection of a new county
   attorney. (That cost us another $12,762.)

    Finally, Ogletree billed the county a staggering $1.2 million for something described only as "contract
    compliance." County Spokeswoman Cari Gerchick told New Times that county administrators have no
    idea what that means.

    We contacted L. Eric Dowell, a shareholder at Ogletree Deakins and the sheriffs lawyer of choice, to
    ask about the "contract compliance" payments, hut we hadn't heard back by press time. We'll post an
    update if we get an answer.

    In the mean time, looking al the wasted $2.4 million and the unexplained $1.2 million and the tens of
    thousands of dollars for failed legal adventures — well, we never thought we’d say this, but we actually
    miss Dennis Wilenchik. Yes, New Times disagreed with Wilenchik on lust about everything. But
    Wilenchik handled some pretty tough cases for Arpaio, not just political crap that should have never
    made its way to a docket.

    And Wilenchik, unlike the sheriffs new $2-inillioii“COimsel, actually knew how to win.




                                                                                                                nJ)
              Civil Case 6-20-CV-000253 Complaint Filed February 14,202<£iark vs. Wells Fargo et al Page 59 of 131

  Nrv"* C       rr¥3«;                     i




                                                    EXHIBIT 1 Page 18 of 90
                 Case 6:20-cv-00253-AA                 Document 78-1             Filed 05/04/20   Page 19 of 90
To: Christopher Mixon Ogletree- Nashville   Page 1 of 18    2020-04-20 16:13:17 (GMT)                14157043294 From: Andrew Clark




                                IN THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF OREGON
                                               Eugene, Oregon Division



            Andrew Clark, Plaintiff
            3270 Stoney Ridge Rd.
            Eugene, OR 97405 541.510.3915
            OperationSunriseLaw@gmail.com                        Civil Complaint Case: 6: cv 20-00253-aa

            Wells Fargo and Company                               Partial Reply to Responses
            420 Montgomery St. San Francisco, CA 94163            Filed April 20, 2020
            as Voluntary or Mandatory
            Intervenor for Plaintiff
            (Subject to FRCP 24)

            vs. Defendants:
            Wells Fargo Bank et al
                                               Reply to Responses (partial)

            Thank you very much for your responses to Civil Case 20-00253. Before getting into that I
            want to share some exciting news I learned last week:                  Honorable Judge Michael Hogan
            (ret.) is joining our Team! He is bringing with him Jared Hager, Assistant United States
            Attorney (AUSA)- Civil Division. I also made good contact with Pam Ilolistcr AUSA -
            Criminal Division.


            Docket 56 ‘federal witness tampering’ contains a police report page dated July 19, 2011.
            Judge Michael Hogan accepted Wells Fargo’s Emergency SLAPP Suit i 1-06248 filed on
            “emergency basis” in early August 2011 by Ogletree Deakins. The attachment is a transcript
            of the third hearing in that court. It was by telephone on May 8, 2012. It was not in PACER
            until I paid to have it transcribed in early 2016. It is ‘absolutely must read’.


            Most of you are named in this lawsuit as Defendants so you can be absolved and held
            harmless by acting as ‘witness’. You based your actions (described in complaint) upon
            elaborate lies of Wells Fargo/Ogletree Deakins, just as did Judge Hogan. I urge each of you to
            withdraw or modify your response to conform to the new information. Pleading to FRCP 8-E
            is one method as I describe within this document.

                April 20, 2020 Reply to Responses Case 6.20.cv.00253.aa Clark vs. Wells Fargo et al Page 1 of 5




                                                           EXHIBIT 1 Page 19 of 90
                 Case 6:20-cv-00253-AA                 Document 78-1             Filed 05/04/20      Page 20 of 90
To: Christopher Mixon Ogletree- Nashville   Page 2 of 18    2020-04-20 16:13:17 (GMT)                   14157043294 From: Andrew Clark




            My complaint is bavSed on facts and already-discovered evidence that would fully support
            criminal indictments for RICO and/or the underlying RICO Crimes. The public corruption
            includes text-book examples Hobbs Act violations, 18 USC 1951 which was expanded to
            include ‘third party benefits awarded under color of official rights’. But this case went
            further. Use of false arrest and jailing by armed police against a Federal Witness is a primary
            metric of “organized crime”.
            I urge each of you to reference these two DOJ manuals. My complaint, its factual basis, and the
            supporting evidence fully conforms to the Criminal RICO manual. It along with the referenced PACER
            records are a ready-to-go criminal complaint.
            Criminal RICO Manual https://www.justice.gov/archives/usam/f1le/870856/download
            Civil RICO Manual: https://www.justice.gov/sites/default/files/usam/legacy/2014/10/i7/civrieo.pdf

            This reply covers most of my objections to responses but it was rushed. The responses are
            voluminous and I am not through them yet I motioned for extra time and was granted a
            partial extension that did not fulfill the objective. I also noticed that my Motion submitted
            under FRCP 24 for Wells Fargo and Company as Intervenor was denied. Denial is not the
            problem: it is the total lack of discussion with no reason being provided.


            The wav the COURT STAFF handled both of those motions under the circumstances
            prompted me to file Docket 56, report the situation to all of the DOJ Offices of Inspector
            General, and make telephone contact with Ms. Holister. That is exactly how the enterprise
            used the courts to bypass evidence in oast proceedings.                 I am not replying to Ogletree
            Peaking’ April q, 2020 response with this document as it is not due vet. And I believe that
            Judge Hogan and Oregon’s AG (Defendant Rosenblum et aD will want “first crack” at Wells
            Fargo/Qgletree Deakins which just might prompt speedy resolution.


                          Docket 56 - Federal Witness Tampering. RICO, and You
                              RICO Makes You Culpable for the Results of the Enterprise
                  Clayton/Sherman ATA Makes the Corporate Entities Culpable for RICO by it’s Agents

            Defendant-Attorneys: Federal Witness Tampering occurred. Docket 56 is a Federal
            Crime Report. It is one page of a police report, two federal investigation acceptance letters,
            and a printout of Criminal Resource Manual 1729. Federal Witness Tampering occurred by
            definition and without regard to any other facts. Wells Fargo brought in Ogletree Deakins
            against me while still employed. Ex. 56 contains a two-page news article from Maricopa
            County7, AZ in the same general timeframe demonstrating that Ogletree Deakins (a national


                April 20, 2020 Reply to Responses Case 6.20.cv.00253.aa Clark vs. Wells Fargo et al Page 2 of 5




                                                           EXHIBIT 1 Page 20 of 90
                 Case 6:20-cv-00253-AA                 Document 78-1             Filed 05/04/20   Page 21 of 90
To: Christopher Mixon Ogletree- Nashville   Page 3 of 18    2020-04-20 16:13:17 (GMT)               14157043294 From: Andrew Clark




            firm) has a history of using the same tactics elsewhere, another metric of Racketeering and
            Organized Crime as well as the need for Clayton/Sherman ATA.


            The Tampering events described in my complaint include physically violent federal felonies
            that constitute RICO. RICO makes YOU culpable for the results of the Enterprise. The Hobbs
            Act violations involved rampant, systemic public corruption. A complete evidence base was
            repeatedly submitted to the court and was obstructed with pleadings much like the ones
            Defendants used in this proceeding coupled with fraudulent use of official systems along with
            legal battery of me.


                  Criminal Violation of Sarbanes-Oxley (SOX) Legislation and 18 USC1519
                            Attention Wells Fargo Responsible Corporate Officers and
                          Ogletree Deakins / Seyfarth Shaw Partners and/or Shareholders

            As disclosed in Docket 56, a SOX investigation (not Dodd-Frank) that included internal
            reporting was in process at Department of Labor/OSHA when the witness tampering started.
            “Yates” is a 2015 Supreme Court case that clarified “tangible object” as it relates to 18 USC
            1519 that rose from SOX. The court is intangible. The court systems and PACER are tangible
            objects into which 1 submitted facts/evidence. Any pleading or action that had the effect of
            obstructing and bypassing adjudication of facts/evidence violated 18 USC 1519. The SOX
            legislation extends criminal culpability to the Wells Fargo RCO’s along with Partners and/or
            Shareholders of Ogletree Deakins and Seyfarth Shaw.


            It is beneficial to accept the above as generally true unless you can point out anything that
            meaningfully contradicts it. Attorney-Defendants, please take a look and 1 am hopeful you
            will agree the Ginsburg Court mused that nothing in the law prevents a criminal situation
            from having no penalty or even rewards if the social benefit justifies it. The factu al basis and
            evidence supports Alternative Dispute Resolution in which ALL OF US can make shameless-
            but-rightcous Progress.


                          Defenses Based on Res Judicata and Statutes of Limitations
                         Tolling Begins When Obstruction of Evidence Placed Into the Court Ends

            A claim of Res Judicata in this situation represents perjury7 and continued obstruction of
            justice that gravely endangered Wells Fargo and the general public. The PACER records of

                April 20, 2020 Reply to Responses Case 6.20.cv.00253.aa Clark vs. Wells Fargo et al Page 3 of 5




                                                           EXHIBIT 1 Page 21 of 90
                 Case 6:20-cv-00253-AA                 Document 78-1             Filed 05/04/20   Page 22 of 90
To: Christopher Mixon Ogletree- Nashville   Page 4 of 18    2020-04-20 16:13:17 (GMT)               14157043294 From: Andrew Clark




            the prior cases stands as timeless, unequivocal proof that all facts and evidence I placed into
            the court in any conceivable format were all bypassed and were not adjudicated.


            Many Defendants incorrectly claimed the matter was outside of statutes of limitations and
            time bars. All facts and evidence were placed into the court systems and bypassed via
            obstructive pleadings as demonstrated in PACER. Each defendant is subject to the to year
            RICO window. The predicate acts occurred within a four year period. A convincing body of
            evidence supporting the facts was repeatedly placed into the court and then bypassed
            completely. All case law involving major obstructed evidence savs what common sense
            confirms: tolling begins when obstruction ends.


                                     Defenses Based on FRCP 12(b)(6) vs. FRCP 8-E
            Motions to dismiss based upon FRCP 12(b)(6) are clearly not appropriate to the factual basis
            and evidence in this case. It will take you less than 10 minutes absorbing Docket 56 and you
            will instinctively feel you may have acted upon false and wrongful information that had the
            result of tampering with a federal witness. Most of you were used by Attorney Pollino’s clients
            as agents of their tampering and obstruction of justice (bypassing the factual basis and
            evidence). Think back, check records and try to remember what information you were
            provided and by who that caused you to do as 1 allege in the FRCP 9 pleading. Read up on
            “vicarious vs. active participation” and your duties as attorneys to have done differently in
            retrospect. Then consider pleading to FRCP 8-E as I use in an example below.


                                                  Defenses Based on Immunity
            First and foremost: The primary reason to include an “immune person” such as Oregon’s
            Attorney General Rosenblum in a lawsuit is to demonstrate to them how the government
            agency was wrongly influenced by Wells Fargo/Ogletree Deakins. It is the best and only way
            for a citizen to formally provide them a good reason to FOLLOW THE LAW AND CORRECT
            THE DAMAGE THEY DID. No person enjoys complete immunity if they commit a crime.
            Also, I included Exhibit 11, an Amicus Curiae in a recent New York case in which a judge
            concluded President Trump does not have complete immunity. If he doesn’t., .none of us
            should. To he honest, 1 have not read State’s response yet due to being rushed as described in
            the introduction.



                April 20, 2020 Reply to Responses Case 6.20.cv.00253.aa Clark vs. Wells Fargo et al Page 4 of 5




                                                           EXHIBIT 1 Page 22 of 90
                 Case 6:20-cv-00253-AA                 Document 78-1             Filed 05/04/20   Page 23 of 90
To: Christopher Mixon Ogletree- Nashville   Page 5 of 18    2020-04-20 16:13:17 (GMT)               14157043294 From: Andrew Clark




                                 Defendant Attorneys: Opportunity is Knocking Hard
            Defendant Bruce Newton is my ex-wife’s divorce attorney. I accused him in the complaint in
            some detail. Without any regard to that: Docket 56 (CRM 1729) specifics HIS CLIENT is
            entitled to relief of damages caused by federal witness tampering. I am hopeful Defendant
            Newton joins me because that is what is both right and righteous and I would like to discuss it
            with him privately. I await his call so we can talk about real progress for all.


            I will use Defendant Barry Davis as an example that in one way or another applies to all or
            most Defendants. It is legally and ethically correct to plead to FRCP 8-e “Pleadings must be
            construed so as to do justice.” I paid Defendant Davis a lot of money to file an appeal for 11-
            06248 which was never filed despite assurances otherwise. On several occasions he
            mentioned to me that Defendant Lively called him. My impression was that she applied a lot
            of pressure upon him and certainly did not mention that Federal Witness Tampering she was
            trying to conceal. I personally heard how she pressured Judge Hogan and you can read the
            attached tele-hearing transcript where she is badgering the judge about her burning need for
            “Motion 78” to be approved. The transcript docs not reflect the shrill urgency in her voice that
            a recording would as she openly treated Judge Hogan as a child-lackey. Have tissue on hand
            as that “absolutely must read” transcript will likely cause you to shed tear for the Court, Judge
            Hogan, my family, and myself... and yourself.


            So I can only imagine what she was saying to Attorney Barr}7 Davis that paralyzed him, I think
            Mr. Davis (et al) would rather summarize it briefly in this court and be absolved and held
            harmless rather than explaining it in infinite detail to a team of state and federal investigators
            and having to provide all the telephone and income tax records related to the very significant
            amount of money involved, etc. Similar could be said for all Defendants. Please feel free to
            contact me any time. I do not record calls and you are also welcome to visit. Thank you all.


            Signed and Sworn to as Truth on April 20, 2020.
              /s Andrew Clark
            Andrew (Andy) Clark, Plaintiff 3270 Stoncy Ridge Rd. Eugene, OR 97405 541.510.3915
            OpcrationSunriscLaw@gmail.com www.RiscPatriot.comwww.WellsFargoWitz.com

            www.WellsFargoRICO.comwww.DoggyMcSLyleLaw.comwww.DislriclCourLOregon.com
            Solution Metaphor: www.TheEiigeneBlairProject.eom.


                April 20, 2020 Reply to Responses Case 6.20.cv.00253.aa Clark vs. Wells Fargo et al Page 5 of 5




                                                           EXHIBIT 1 Page 23 of 90
                  Case 6:20-cv-00253-AA                Document 78-1             Filed 05/04/20        Page 24 of 90
To: Christopher Mixon Ogletree- Nashville   Page 6 of 18    2020-04-20 16:13:17 (GMT)                    14157043294 From: Andrew Clark




                       Exhibit for Reply to Responses as described in the reply document                  4-20-20
                                                                                                                               i



                        i                                  UNITED STATES DISTRICT COURT

                        2                                    FOR THE DISTRICT OF OREGON

                        3       WELLS FARGO BANK, N.A.,                                 )
                                                                                        )
                        4                                    Plaintiff,                 )   No.   6:ll-cv-0624 8-AA
                                                                                        )
                        5           v.                                                  )   May 8,     2012
                                                                                        }
                        6       ANDREW G. CLARK,                                        )   Exigene,    Oregon
                                                                                        )
                                                              Defendant.                )

                        8

                        9                        TRANSCRIPT OF TELEPHONE ORAL ARGUMENT

                       10                        BEFORE THE HONORABLE MICHAEL R.                         HOGAN

                       11                           UNITED STATES DISTRICT COURT JUDGE

                       12

                       13

                       14

                       15
                                                  APPEARANCES OF COUNSEL VIA TELEPHONE
                       16
                                 FOR THE PLAINTIFF:                       LEAH C. LIVELY
                       17                                                 Ogletree Deakins Nash Smoak &
                                                                            Stewart
                       18                                                 222 SW Columbia Street
                                                                          Suite 15CO
                       19                                                 Portland, OR   97201
                                                                          (503) 552-2140
                       20                                                 leah.lively@ogletreedeakins.com

                       21        FOR THE DEFENDANT:                       ANDREW G. CLARK, pro se
                                                                          3270 Stoney Ridge Road
                       22                                                 Eugene, OR  97405
                                                                          (541) 510-3915
                       23
                                 Court Reporter:                          Deborah Wilhelm., CSR, RPR
                       24                                                 Court Reporter
                                                                          P , Q. Box 15 0 4
                       25                                                 Eugene, OR      97440
                                                                          (541} 505-0760




                April 20, 2020 Reply to Responses Case 6.20.cv.QQ253.aa Clark vs. Wells Fargo et al Page 6 of 5



                                                           EXHIBIT 1 Page 24 of 90
                  Case 6:20-cv-00253-AA                Document 78-1             Filed 05/04/20       Page 25 of 90
To: Christopher Mixon Ogletree- Nashville   Page 7 of 18    2020-04-20 16:13:17 (GMT)                       14157043294 From: Andrew Clark




                                                                                                                                    2


                           1                          (Tuesday,            May 8,       2C12;   9:36 a . rr.. )
                           2          (The following proceedings were had in chambers.)

                           3                                     PROCEED                    N G S
                           4                    THE CLERK:             This is the time set for Case
                         5     11-6248,         Wells Fargo Bank versus Clark,                         time set for
                         6     status conference and oral argument on motion for relief

                               from joint filing requirements.                             Number     /8.

                        8                      MR.     CLARK:          Okay.

                         9                      THE COLJRT:            Thank you.           1 'rr; familiar with the
                       10      papers that have been filed.                             Is there anything you wish

                       11      to add?

                       12                      MR. CLARK:              I        to be honest, with you.                  This
                       13      is Andy Clark over here at 3270 Stoney Ridge Road,                                          and
                       14      I’m just a little bit confused as to the overall status

                      lb       and what this particular matter is about.

                      16                       I haven’t filed anything with the court since,

                      17       I think,        December,           if I’m not mistaken.                 And I'm trying
                      18       to figure out what this Number                            /8 is.      T ’ rr. not an
                      19       attorney.

                      20                       And so my feeling is,                     again     there was an
                      21       overall wrong that has kind of gone on here.                                       I've put

                      22       that in the local SWAT,                      they are doing an investigation

                      23       as of last v^eek.                 They are finally taKir.g a look at

                      24       those events back in July.                         And the way 1 see it, what

                      25       happened back in July, which T got on their own audio




                April 20, 2020 Reply to Responses Case 6.2Q.cv,QQ253*aa Clark vs. Wells Fargo et al Page 7 of 5




                                                           EXHIBIT 1 Page 25 of 90
                  Case 6:20-cv-00253-AA                 Document 78-1             Filed 05/04/20    Page 26 of 90
To: Christopher Mixon Ogletree- Nashville    Page 8 of 18    2020-04-20 16:13:17 (GMT)                14157043294 From: Andrew Clark




                                                                                                                              3



                                                                                              it's pretty clear.          I
                        1     and you can talk to them about it,

                        2     mean.         on July 18th before this all started,                       they had

                        3     already posted guards,                      you know,      to        for no reason.

                        4     And then they have arranged to have a fake 911 call and

                        5     I put it all online.                       And then they came at night to rr.y

                        6     house and they did not have a warrant at rhe time they

                              came to my house.                    And you can clearly — very clearly

                        8     on their internal audio hear them call on July 18th

                        9     before any of that: arrest stuff started,                              you know,      they

                       10      talked to Wells Fargo.

                       11                       And so I’ve been of the opinion that                             you

                       12      know,        I have been in contact with the FBI In real                                 it

                       13      was financial                     you know, there was banking,               it’s

                       14      required as a mandatory reporter in banking to report

                       15      financial system fraud that you are involved in or see.

                       16      And whatever else you had on, that’s your business,                                     but

                       17      that's what I did.                     And,     you know,      they had a fraud and

                               everybody knew it.                     And so eventually when you get these

                       19      new requirements,                   they came a year ago             I just couldn1t

                       20      do it anymore.                  I wouldn't do it anymore.                And They

                       21       asked about it and they pushed back.

                       22                        And the way I look at it,                    this whole thing

                        23      hasn't been looked at right and I’ve tried to be patient

                        24      and you understand that I have been getting every one of

                        25      these reports on this.                        I've made reference to my




                April 20, 2020 Reply to Responses Case 6.20.cv,00253.aa Clark vs. Wells Fargo et al Page 8 of 5



                                                            EXHIBIT 1 Page 26 of 90
                  Case 6:20-cv-00253-AA                Document 78-1             Filed 05/04/20    Page 27 of 90
To: Christopher Mixon Ogletree- Nashville   Page 9 of 18    2020-04-20 16:13:17 (GMT)                  14157043294 From: Andrew Clark




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                                opinion that they ever, influenced the family court.                                    " us t
                           2    due to timing.                And I'm just trying to cet this all

                           3    shoveled under the rug for everybody.                             All I want -a do
                           4    is get. Wells Fargo up here,                       and go,    look,    you guys.
                           5   this           you got.              a.] L I wanted to do is fcJ low the law
                           6   and the policy.                  So let's get this out of the courts,

                           V   you .enow.         let’s get this back to a nice friendly thing

                           S   where we're all working on a team for progress of the

                         9     bank and progress of the world and we’re not dragging

                       ID      dirt through civil courts and through all these

                       11      litigations.

                       12                       It's just               it just don't seem to me t.o be
                       13      very productive when it’s just a matter of getting them

                       14      up hero to settle it.                      And to settle with me,             you know.
                      15       T haven't been very specific about that,                               you know*.       You
                      16       knew, what I mean?                       don't knowm          Don't you get it?            I
                        7      just need it resolved.                      My life is short.            i don’t have
                      18       ten years or whatever corporations do.                              See,    I’ve been
                      19       subjected to a corporate process,                          something that lawyers
                      20       spend 10 years,               20 years,         they don't care.           I'm just me.
                      21       I’m 53.         This is killing mo,                  you know.     faster than
                      22       thought it might,                 okay?       And so X really don't know what
                      23       tc do .       I honestly don't.

                      24                       Last tine _ was there,                   I was told not to file
                      25       motions except through the federal system,                              well,     I feel




                April 20, 2020 Reply to Responses Case 6.20.cv.00253-aa Clark vs. Wells Fargo et al Page 9 of 5




                                                           EXHIBIT 1 Page 27 of 90
                  Case 6:20-cv-00253-AA                Document 78-1           Filed 05/04/20     Page 28 of 90
To: Christopher Mixon Ogletree- Nashville   Page 10 of 18 2020-04-20 16:13:17 (GMT)                    14157043294 From: Andrew Clark




                                                                                                                                   5



                        1     a little nervous about filing motions through the

                       2      federal systems.                 i'm pretty handy with systems.                        1

                        3     don’t want to get in any trouble with the system guys.

                        4     So 1 don't know what to tell you.

                        5                      Whatever it is we need to do,                    you know,        I

                        6     didn’t appeal this, had a judgment back in January,                                            The

                        7     way I see it.             there wasn't a grain of truth in it, but,

                        3     again,        I don't want to be contentious with anybody,                                 you

                        9     understand?             I’m right here in my house.                      You know,         I

                       10      ain't hiding from anybody.                       And I just need some relief

                       11      from the court in a different way.                          I'm just a human.                     I

                       12      don't have the knowledge and I don't have the time and ±

                       13      don’t think it's right in this small community to be

                       14      dragging all the little people through this.

                       15                      I wrote a letter to my congressman on April

                       16      10th and he says,               well,      we suggest you talk to Kitty

                       17      Piercy on the town city council.                           You know,       it's really

                       18      infuriating to me,                because I've been trying                      I've got

                       19      letters after letters after letters.                             And,    you know,            I

                       20      posted it all on my Web site and I tried to make it so

                       21      people wouldn't see it fast.                           You know,   I tried to make

                       22      it so it was hard to get to.                           And then 1 kind of moved

                       23       it around a little bit, but I just want to get on with

                        24     my life.           Don't you understand?

                        25                      I've got people who Google me and look what




                April 20, 2020 Reply to Responses Case 6.20.cv,00253.aa Clark vs. Wells Fargo et al Page 10 of 5



                                                        EXHIBIT 1 Page 28 of 90
                  Case 6:20-cv-00253-AA                Document 78-1           Filed 05/04/20   Page 29 of 90
To: Christopher Mixon Ogletree- Nashville   Page 11 of 18 2020-04-20 16:13:17 (GMT)                   14157043294 From: Andrew Clark




                                                                                                                               6


                           1    they see,         they see these federal actions,                     right?       You
                           2    know.       so I don't know what to do.                     If il•s          Judge,       if
                           3    you’re there,            or Your Honor,               anybody in the FBI,
                           4   whatever you all need, but I need, you to all look at

                           5   what I've put into that court and the fact that I don’t

                           6   want to be dragging it through the mud.                            That’s ray only
                         7     obj cctive.           I go i nto court and T just shut rr.y mouth.

                         8     because it's me,               and I can deal with it.             and I don't
                         9     want to be dragging through the courts,                           It’s not. right.
                       :c                      THE COURT:            Well, Mr. Clark             okay, Mr.         Clark.
                       11                      Ms.     lively,       do you have anything on the notion

                       12      for relief from joint filing requirements?

                       13                      MR.    CLARK:        What is it?           I don’t know what the
                       14      joint filing requirement is.

                       15                      THE COURT:           Weil,      our rules require some things
                       16      to be signed by both parties.                           And according to
                      17       Ms . Lively,          it's been more difficult to get your

                      18       cooperation on that.                   Just

                      19                       MR.    CLARK:        Well
                      20                       THE COURT:           Just a moment, Mr.          Clark.
                      21                       Ms.    Lively, do you have anything more on that?

                      22                       MS.    LIVELY:         Not on that specific motion,                  no,
                      23       Your Honor.

                      24                       MR.    CLARK:        What is it that             what is this
                      25       that I'm supposed                    my feeling is that I've got a




                April 20, 2020 Reply to Responses Case 6.2Q.cv,QQ253.aa Clark vs. Wells Fargo et al Page 11 of 5




                                                        EXHIBIT 1 Page 29 of 90
                  Case 6:20-cv-00253-AA                Document 78-1           Filed 05/04/20   Page 30 of 90
To: Christopher Mixon Ogletree- Nashville   Page 12 of 18 2020-04-20 16:13:17 (GMT)               14157043294 From: Andrew Clark




                                                                                                                        7



                        :     certain legal position based in evidence.                            Okay.      The

                        2     evidence

                        3                      THE COURT:           Hang on, Mr.       Clark,   okay.      The

                        4     motion is granted.

                        5                      Now,    what exactly — what relief or what are

                              the plaintiff’s plans for this case?                          This does not

                        -7
                              appear to be a matter that’s well suited to a trial.

                        3     What do you hope to achieve?

                        S                      MR.    CLARK:        Well

                      10                       THE COURT:           No,    no. Mr. Clark,       I'm asking

                      11      Ms. Lively this.

                      12                       MR.    CLARK:        I'm sorry,        I apologize.

                       13                      THE COURT:           What are the bank's plans for the

                       14      case?

                       15                      MS.    LIVELY:         Your Honor, we'd like two things.

                       16      One, we have broached the subject of mediation with

                       17      Mr. Clark.            And,    in fact, have              if he will         if he

                       18      finds a mediator.               we've agreed to pay all costs for a

                       19      third-party mediator,                  whether that be a private mediator

                       20      that is somebody suitable for mediation or whether it's

                       21      something that the court does in order to try and

                       22      resolve that.              And my understanding is Mr.               Clark doesn’t

                       23      think a third party is something he needs.                            So W G

                       24      would            you know,        we would be willing to talk to

                       25      Mr.     Clark about that,               but we do feel that a third party




                April 20, 2020 Reply to Responses Case 6.2Q.cv.QG253.aa Clark vs. Wells Fargo et al Page 12 of 5



                                                        EXHIBIT 1 Page 30 of 90
                  Case 6:20-cv-00253-AA                 Document 78-1           Filed 05/04/20    Page 31 of 90
To: Christopher Mixon Ogletree- Nashville    Page 13 of 18 2020-04-20 16:13:17 (GMT)                 14157043294 From: Andrew Clark




                                                                                                                             8


                           1   would be necessary in order lo do that.

                           2                     Beyond that,           we'd like to move lor a permanent
                           3    in-junction.            However,        we need a judgment on she merits

                           4   te do that.            so wcTd like a summary judgment deadline so

                           5   that we can file for summary judgment and then move --

                           6   you know,          if that were lo be granted,                    then move for a.
                        ~7
                               permanent injunction.

                         s                      THE COURT:            I'll give the parties 30 days to

                         9     file dispositive motions.

                       10                       MR. CbARK:            Okay.       And so what I need to do is

                       11      get trie motions to you.                      My motion,    you know,       would be.
                       12      number one,            to resurrect my other motions,                  'which I don't
                      13       think were really heard,                     and start going through the
                      14       evidence that I submitted to the court that was sealed.

                      15       In ether words,               1 do believe that there is trial

                      16       because              I'm going to put it all in a motion form, but

                      17       a lot of it's already in there.                         don’t you guys see?            A
                      18       lot of it's already been submitted,                         okay?
                      19                        Now, Ms.        Lively,       with regard to mediation, my
                      20       understanding of mediation,                       that as soon as I agree tc
                      21       Lhat f       then I give up all these rights.                      In other words,
                      22       we 11,       it’s like you kind of don't have any rights.

                      23       otherwise once you sign up for the mediation.

                      24       Furthermore,            the way 1 look at it,              a _ot of this
                      25       material is sort of banking — you know.                             it's




                April 20, 2020 Reply to Responses Case 6.2Q.cv,0G253.aa Clark vs. Wells Fargo et al Page 13 of 5




                                                         EXHIBIT 1 Page 31 of 90
                  Case 6:20-cv-00253-AA                Document 78-1           Filed 05/04/20    Page 32 of 90
To: Christopher Mixon Ogletree- Nashville   Page 14 of 18 2020-04-20 16:13:17 (GMT)                 14157043294 From: Andrew Clark




                                                                                                                          9



                        1     proprietary.

                        2                      THE COURT:           Let me

                        3                      MR. CLARK:           So I can't go over that

                        4                      THE COURT:           Mr.    Clark,     let me help you on

                        5     mediation,          ali right?           Mediation is something that

                        6     people come together and someone helps them try to find

                        7     a solution they all can agree on.                          It's not that it is

                        8      imposed on them.                They agree to meet.              And the third

                        9     party tries to help find common ground.                              And so it's a

                       10     way of settling a matter.                        You don't give up other

                       11      rights by going to mediation.                          It's a way of trying to

                       12      resolve something short of the courtroom where everyone

                       13      agrees on the end result.                       I think that's what's being

                       14      proposed here.

                       15                      MS. LIVELY:            That is correct,,         Your Honor.         Me

                       16      wouldn't expect Mr.                 Clark to give up any rights unless

                       17      during the mediation there was,                         you know,    a settlement

                       18      reached,         and certainly not by going to the mediation

                       19      itself.

                       20                       MR. ClARK:           Okay.       I need to         see, here's the

                       21      thing,        okay,     I need everybody to understand that,                      you

                               know,        that as hard as I try to act brave.                     I*m not that

                       23      brave.         Okay?       You know,         as hard as I try to act mean.

                       24       I’m not mean.             Okay?        I try hard to withstand it,t              and I

                       25       can'c stand it.               I mean,       they’ve hit me so hard,             and the




                April 20, 2020 Reply to Responses Case 6.2Q.cv.QG253.aa Clark vs. Wells Fargo et al Page 14 of 5



                                                        EXHIBIT 1 Page 32 of 90
                  Case 6:20-cv-00253-AA                Document 78-1           Filed 05/04/20    Page 33 of 90
To: Christopher Mixon Ogletree- Nashville   Page 15 of 18 2020-04-20 16:13:17 (GMT)                14157043294 From: Andrew Clark




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                           1    fami.y courc is -what kills me.                       I can't deal with that.
                           2   That's bizarre.                And        just twist in the wind.             It's
                           3   something that you guys don't understand.                            the emotional
                           4   and the physical effects of.

                           5                    THE COURT;           Ail right.        What I’rr. going
                           6                   MR. CEARK:            And it’s caused a great

                           7   defensibility,             it's caused

                           8                   THE COURT:            Mr.    Clark?
                         9                     MR.    CLARK:               a lack of ability to deal with

                       10      this correctly.

                       11                      THE COURT:           Mr,     Clark?

                       12                      MR.    CLARK:        Yes,     sir.     Yes,   Ycur Honor.
                       13                      THE COURT:            I'm going to give each of you two
                       14      weeks to suggest a mediator Lo me in writing.

                       15                      MR.    CLARK:        Okay.

                      16                       THE COURT:           And I'll take a          look at that and
                      37       I'll decide on our future situation of this case.                               all
                      18       right?

                      19                       MR.    CLARK:        Yeah.       That's what I'm thinking,             if
                      20       you are the judge,                right,      are you Judge Koqan or the
                      21       phone with me here?

                      22                       THE COURT:           Yes,     sir.     And there is a chance
                      23                      MR. CLARK:            I want to put it in your hands.
                      24       Whatever,        Judge,       it's like I told you,              you tell me to go
                      25       into the third and I'll go into the third.                            You




                April 20, 2020 Reply to Responses Case 6.2Q.cv,QQ253.aa Clark vs. Wells Fargo et al Page 15 of 5




                                                        EXHIBIT 1 Page 33 of 90
                  Case 6:20-cv-00253-AA                Document 78-1            Filed 05/04/20    Page 34 of 90
To: Christopher Mixon Ogletree- Nashville   Page 16 of 18 2020-04-20 16:13:17 (GMT)                 14157043294 From: Andrew Clark




                                                                                                                         11



                        1     understand?             Whatever you tell me,               I do.     It's in your

                        2     hands.

                        3                      THE COURT:           Well

                        4                      MR.    CLARK:        That's what I'm saying,               it’s in

                        b     your hands.             You're like my father and my mother in that

                        6     way,      it’s in your hands.                  I can’t deal with it.             You got
                        -j
                               it all.         I don’t believe in having stuff spewed ail over

                        8     and everything.                I just want things done whatever.

                        9      fastest way.             If you know a good mediator,                    just maybe

                       10      recommend.          I’ll look in the phone book,                   how about that?

                       11      I'll want it to be okay with Ms.                        Lively,     too,    okay?

                       12                      THE COURT:           All. right.        And by the way I’m —

                       13                      MR.    CLARK:         I don't want no problems.

                       14                      THE COURT:            I'm going to take a look at who you

                       lb      suggest.          I might do it myself.                  I'm a pretty good

                       16      mediator myself.

                       17                      MR. CLARK:            Yes,    sir.     And,     again,    I am the

                       18      nicest person but I x:ind of got tweaked,                           you understand?

                       19      And other people do weird things and I try to just show

                       20      people in this very private but sort of not private way.

                       21      we can't have a society like this.                             We have to

                       22                      THE COURT:            Mr. Clark.

                       23                      MR.     CLARK:             let         okay,    yes. Your Honor,

                       24      I’m going to shut up,                   okay.

                       25                       THE COURT:           I’ve got a really busy calendar.                    I




                April 20, 2020 Reply to Responses Case 6.2Q.cv.QQ253.aa Clark vs. Wells Fargo et al Page 16 of 5



                                                        EXHIBIT 1 Page 34 of 90
                  Case 6:20-cv-00253-AA                Document 78-1           Filed 05/04/20   Page 35 of 90
To: Christopher Mixon Ogletree- Nashville   Page 17 of 18 2020-04-20 16:13:17 (GMT)               14157043294 From: Andrew Clark




                                                                                                                        12


                         1     don't, have any more today.                     but we'll talk after

                        2                      MS.     LIVELY:         Your Honor,       I’m sorry,    I
                        3      understand you have to go.                        Would it be possible to get

                         4     a dispositive motion deadline after the mediation,                                like
                        5      30 days following the mediation?

                         6                     THE COURT:            Yes, but let's go ahead right

                        7      yeah,        okay

                        S                      MR.     CLARK:        Do 1 have to respond to the

                        9     motion

                       10                      THE COURT:           Actually,         I'll do that.        I’ll Lake
                      11      oft the 30-day situation.                        That’s fine with ne.          We'll
                      12      do a mediation first,                   and either with someone you

                      13      suggest or           .   will do it.           I haven't decided.         All right?
                      14                       MS.     LIVELY:        Thank you. Your Honor.

                      15                       MR.     CLARK:       Yeah, whatever is good. Your Honor.

                      16      I just want it resolved.

                      ]7                       THE COURT:           All    right.      Thank you very much.

                      18      We're in recess.

                      19                       (The proceedings were concluded at 9:47 a.m.)

                      20

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                April 20, 2020 Reply to Responses Case 6.2Q.cv.QG253.aa Clark vs. Wells Fargo et al Page 17 of 5




                                                        EXHIBIT 1 Page 35 of 90
                  Case 6:20-cv-00253-AA                Document 78-1           Filed 05/04/20   Page 36 of 90
To: Christopher Mixon Ogletree- Nashville   Page 18 of 18 2020-04-20 16:13:17 (GMT)               14157043294 From: Andrew Clark




                                                                                                                       13



                        1                                              CERTIFICATE

                        2                   I,   Deborah Wilhelm,             Certified Shorthand Reporter

                        3     for the State of Oregon,                     do hereby certify that I was

                        4     present at and reported in machine shorthand the oraj

                        5     proceedings had in the above-entitled matter.                              I hereby

                        6     certify that the foregoing is a true and correct

                        7     transcript,           to the best of my skill               and ability,       dated

                        8     this 8th day of February,                      2016.

                        9

                      10

                       II
                                                                                 /s/ Deborah Wilhelm
                       12
                                                                                 Deborah Wilhelm, RPR
                       13                                                        Certified Shorthand Reporter
                                                                                 Certificate No. 00-0363
                       14

                       15

                       16

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                April 20, 2020 Reply to Responses Case 6.2Q.cv.QG253.aa Clark vs. Wells Fargo et al Page 18 of 5



                                                        EXHIBIT 1 Page 36 of 90
                Case 6:20-cv-00253-AA                Document 78-1          Filed 05/04/20   Page 37 of 90
To: Steven Seymour Samuels Yoelin Kanto    Page 1 of18 2020-04-20 16:13:04 (GMT)                14157043294 From: Andrew Clark




                             IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF OREGON
                                             Eugene, Oregon Division



           Andrew Clark, Plaintiff
           3270 Stoney Ridge Rd.
           Eugene, OR 97405 541.510.3915
           OperationSunriseLaw@gmail.com                     Civil Complaint Case: 6: cv 20-00253-aa

           Wells Fargo and Company                           Partial Reply to Responses
           420 Montgomery St. San Francisco, CA 94163        Filed April 20, 2020
           as Voluntary or Mandatory
           Intervenor for Plaintiff
           (Subject to FRCP 24)

           vs. Defendants:
           Wells Fargo Bank et al
                                             Reply to Responses (partial)
           Thank you very much for your responses to Civil Case 20-00253. Before gelling into that I
           want to share some exciting news I learned last week:              Honorable Judge Michael Hogan
           (ret.) is joining our Team! He is bringing with him Jared Hager, Assistant United States
           Attorney (AUSA)- Civil Division. I also made good contact with Pam Ilolistcr AUSA -
           Criminal Division.


           Docket 56 ‘federal witness tampering’ contains a police report page dated July 19, 2011.
           Judge Michael Hogan accepted Wells Fargo’s Emergency SLAPP Suit i 1-06248 filed on
           “emergency basis” in early August 2011 by Ogletree Deakins. The attachment is a transcript
           of the third hearing in that court. It was by telephone on May 8, 2012. It was not in PACER
           until I paid to have it transcribed in early 2016. It is ‘absolutely must read’.


           Most of you are named in this lawsuit as Defendants so you can be absolved and held
           harmless by acting as ‘witness’. You based your actions (described in complaint) upon
           elaborate lies of Wells Fargo/Ogletree Deakins, just as did Judge Hogan. I urge each of you to
           withdraw or modify your response to conform to the new information. Pleading to FRCP 8-E
           is one method as I describe within this document.

              April 20, 2020 Reply to Responses Case 6.20.cv.00253.aa Clark vs. Wells Fargo et al Page 1 of 5




                                                     EXHIBIT 1 Page 37 of 90
                Case 6:20-cv-00253-AA               Document 78-1           Filed 05/04/20     Page 38 of 90
To: Steven Seymour Samuels Yoelin Kanto   Page 2 of 18 2020-04-20 16:13:04 (GMT)                   14157043294 From: Andrew Clark




           My complaint is based on facts and already-discovered evidence that would fully support
           criminal indictments for RICO and/or the underlying RICO Crimes. The public corruption
           includes text-book examples Hobbs Act violations, 18 USC 1951 which was expanded to
           include ‘third party benefits awarded under color of official rights’. But this case went
           further. Use of false arrest and jailing by armed police against a Federal Witness is a primary
           metric of “organized crime”.
           I urge each of you to reference these two DOJ manuals. My complaint, its factual basis, and the
           supporting evidence fully conforms to the Criminal RICO manual. It along with the referenced PACER
           records are a ready-to-go criminal complaint.
           Criminal RICO Manual https://www.justice.gov/archives/usam/f1le/870856/download
           Civil RICO Manual: https://www.justice.gov/sites/default/files/usam/legaey/2014/10/17/civrico.pdf

           This reply covers most of my objections to responses but it was rushed. The responses are
           voluminous and I am not through them yet I motioned for extra time and was granted a
           partial extension that did not fulfill the objective. I also noticed that my Motion submitted
           under FRCP 24 for Wells Fargo and Company as Intervener was denied. Denial is not the
           problem: it is the total lack of discussion with no reason being provided.


           The wav the COURT STAFF handled both of those motions under the circumstances
           prompted me to file Docket 56. report the situation to all of the DOJ Offices of Inspector
           General, and make telephone contact with Ms. Holister. That is exactly how the enterprise
           used the courts to bypass evidence in oast proceedings.             I am not replying to Qgletree
           Deakins’ April q, 2020 response with this document as it is not due vet. And I believe that
           Judge Hogan and Oregon’s AG (Defendant Rosenblum et all will want “first crack” at Wells
           Fargo/Qgletree Deakins which lust might prompt speedy resolution.


                        Docket 56 — Federal Witness Tampering. RICO, and You
                            RICO Makes You Culpable for the Results of the Enterprise
                Clayton/Sherman ATA Makes the Corporate Entities Culpable for RICO by it’s Agents

           Defendant-Attorneys: Federal Witness Tampering occurred. Docket 56 is a Federal
           Crime Report. It is one page of a police report, two federal investigation acceptance letters,
           and a printout of Criminal Resource Manual 1729. Federal Witness Tampering occurred by
           definition and without regard to any other facts. Wells Fargo brought in Qgletree Deakins
           against me wrhile still employed. Ex. 56 contains a two-page news article from Maricopa
           County7, AZ in the same general timeframe demonstrating that Qgletree Deakins (a national


              April 20, 2020 Reply to Responses Case 6.20.cv.00253.aa Clark vs. Wells Fargo et al Page 2 of 5




                                                     EXHIBIT 1 Page 38 of 90
                Case 6:20-cv-00253-AA               Document 78-1           Filed 05/04/20   Page 39 of 90
To: Steven Seymour Samuels Yoelin Kanto   Page 3 of 18 2020-04-20 16:13:04 (GMT)               14157043294 From: Andrew Clark




           firm) has a history of using the same tactics elsewhere, another metric of Racketeering and
           Organized Crime as well as the need for Clayton/Sherman ATA.


           The Tampering events described in my complaint include physically violent federal felonies
           that constitute RICO. RICO makes YOU culpable for the results of the Enterprise. The Hobbs
           Act violations involved rampant, systemic public corruption. A complete evidence base was
           repeatedly submitted to the court and was obstructed with pleadings much like the ones
           Defendants used in this proceeding coupled with fraudulent use of official systems along with
           legal battery of me.


                 Criminal Violation of Sarbanes-Oxley (SOX) Legislation and 18 USC 1519
                           Attention Wells Fargo Responsible Corporate Officers and
                         Ogletree Deakins / Seyfarth Shaw Partners and/or Shareholders

           As disclosed in Docket 56, a SOX investigation (not Dodd-Frank) that included internal
           reporting was in process at Department of Labor/OSHA when the witness tampering started.
           “Yates” is a 2015 Supreme Court case that clarified “tangible object” as it relates to 18 USC
           1519 that rose from SOX. The court is intangible. The court systems and PACER are tangible
           objects into which 1 submitted facts/evidence. Any pleading or action that had the effect of
           obstructing and bypassing adjudication of facts/evidence violated 18 USC 1519. The SOX
           legislation extends criminal culpability to the Wells Fargo RCO’s along with Partners and/or
           Shareholders of Ogletree Deakins and Seyfarth Shaw.


           It is beneficial to accept the above as generally true unless you can point out anything that
           meaningfully contradicts it. Attorney-Defendants, please take a look and 1 am hopeful you
           will agree the Ginsburg Court mused that nothing in the law prevents a criminal situation
           from having no penalty or even rewards if the social benefit justifies it. The factual basis and
           evidence supports Alternative Dispute Resolution in which ALL OF US can make shameless-
           but-rightcous Progress.


                        Defenses Based on Res Judicata and Statutes of Limitations
                       Tolling Begins When Obstruction of Evidence Placed Into the Court Ends

           A claim of Res Judicata in this situation represents perjury7 and continued obstruction of
           justice that gravely endangered Wells Fargo and the general public. The PACER records of

              April 20, 2020 Reply to Responses Case 6.20.cv.00253.aa Clark vs. Wells Fargo et al Page 3 of 5




                                                     EXHIBIT 1 Page 39 of 90
                Case 6:20-cv-00253-AA               Document 78-1           Filed 05/04/20   Page 40 of 90
To: Steven Seymour Samuels Yoelin Kanto   Page 4 of 18 2020-04-20 16:13:04 (GMT)               14157043294 From: Andrew Clark




           the prior cases stands as timeless, unequivocal proof that all facts and evidence I placed into
           the court in any conceivable format were all bypassed and were not adjudicated.


           Many Defendants incorrectly claimed the matter was outside of statutes of limitations and
           time bars. All facts and evidence were placed into the court systems and bypassed via
           obstructive pleadings as demonstrated in PACER. Each defendant is subject to the to year
           RICO window. The predicate acts occurred within a four year period. A convincing body of
           evidence supporting the facts was repeatedly placed into the court and then bypassed
           completely. All case law involving major obstructed evidence sans what common sense
           confirms: tolling begins when obstruction ends.


                                  Defenses Based on FRCP 12(b)(6) vs. FRCP 8-E
           Motions to dismiss based upon FRCP 12(b)(6) are clearly not appropriate to the factual basis
           and evidence in this case. It will take you less than 10 minutes absorbing Docket 56 and you
           will instinctively feel you may have acted upon false and wrongful information that had the
           result of tampering with a federal witness. Most of you were used by Attorney Pollino’s clients
           as agents of their tampering and obstruction of justice (bypassing the factual basis and
           evidence). Think back, check records and try to remember what information you were
           provided and by who that caused you to do as I allege in the FRCP 9 pleading. Read up on
           “vicarious vs. active participation” and your duties as attorneys to have done differently in
           retrospect. Then consider pleading to FRCP 8-E as I use in an example below.


                                               Defenses Based on Immunity
           First and foremost: The primary reason to include an “immune person” such as Oregon’s
           Attorney General Rosenblum in a lawsuit is to demonstrate to them how the government
           agency was wrongly influenced by Wells Fargo/Ogletree Deakins. It is the best and only way
           for a citizen to formally provide them a good reason to FOLLOW THE LAW AND CORRECT
           THE DAMAGE THEY DID. No person enjoys complete immunity if the)7 commit a crime.
           Also, I included Exhibit 11, an Amicus Curiae in a recent New York case in which a judge
           concluded President Trump does not have complete immunity. If he doesn’t., .none of us
           should. To he honest, 1 have not read State’s response yet due to being rushed as described in
           the introduction.



              April 20, 2020 Reply to Responses Case 6.20.cv.00253.aa Clark vs. Wells Fargo et al Page 4 of 5




                                                     EXHIBIT 1 Page 40 of 90
                Case 6:20-cv-00253-AA               Document 78-1           Filed 05/04/20   Page 41 of 90
To: Steven Seymour Samuels Yoelin Kanto   Page 5 of 18 2020-04-20 16:13:04 (GMT)               14157043294 From: Andrew Clark




                              Defendant Attorneys: Opportunity is Knocking Hard
           Defendant Bruce Newton is my ex-wife’s divorce attorney. I accused him in the complaint in
           some detail. Without any regard to that: Docket 56 (CRM 1729) specifics HIS CLIENT is
           entitled to relief of damages caused by federal witness tampering. I am hopeful Defendant
           Newton joins me because that is what is both right and righteous and I would like to discuss it
           with him privately. I await his call so we can talk about real progress for all.


           I will use Defendant Barry Davis as an example that in one way or another applies to all or
           most Defendants. It is legally and ethically correct to plead to FRCP 8-e “Pleadings must be
           construed so as to do justice.” I paid Defendant Davis a lot of money to file an appeal for 11-
           06248 which was never filed despite assurances otherwise. On several occasions he
           mentioned to me that Defendant Lively called him. My impression was that she applied a lot
           of pressure upon him and certainly did not mention that Federal Witness Tampering she was
           trying to conceal. I personally heard how she pressured Judge Hogan and you can read the
           attached tele-hearing transcript where she is badgering the judge about her burning need for
           “Motion 78” to be approved. The transcript docs not reflect the shrill urgency in her voice that
           a recording would as she openly treated Judge Hogan as a child-lackey. Have tissue on hand
           as that “absolutely must read” transcript will likely cause you to shed tear for the Court, Judge
           Hogan, my family, and myself... and yourself.


           So I can only imagine what she was saying to Attorney Bar17' Davis that paralyzed him. I think
           Mr. Davis (et al) would rather summarize it briefly in this court and be absolved and held
           harmless rather than explaining it in infinite detail to a team of state and federal investigators
           and haring to provide all the telephone and income tax records related to the very significant
           amount of money involved, etc. Similar could be said for all Defendants. Please feel free to
           contact me any time. I do not record calls and you are also welcome to risit. Thank you all.


           Signed and Sworn to as Truth on April 20, 2020.
             Is Andrew Clark
           Andrew (Andy) Clark, Plaintiff 3270 Stoncy Ridge Rd. Eugene, OR 97405 541.510.3915
           OperationSunriseLaw@gmail.com wivw.RisePatriot.com www.WellsFargoWitz.com

           www.WellsFargoRICO.comwww.DoggyMcSLyleLaw.comwww.DislriclCourLOregon.com
           Solution Metaphor: www.TheE11geneBlairProject.eom.


              April 20, 2020 Reply to Responses Case 6.20.cv.00253.aa Clark vs. Wells Fargo et al Page 5 of 5




                                                     EXHIBIT 1 Page 41 of 90
                Case 6:20-cv-00253-AA               Document 78-1           Filed 05/04/20       Page 42 of 90
To: Steven Seymour Samuels Yoelin Kanto   Page 6 of 18 2020-04-20 16:13:04 (GMT)                   14157043294 From: Andrew Clark




                     Exhibit for Reply to Responses as described in the reply document              4-20-20
                                                                                                                         i



                      1                              UNITED STATES DISTRICT COURT

                      2                                FOR THE DISTRICT OF OREGON

                      3      WELLS FARGO BANK, N.A.,                               )
                                                                                   )
                      4                                 Plaintiff,                     No.   6:ll-cv-0€248-AA

                      5          v.                                                )   May 8,    2012
                                                                                   }
                      6       ANDREW G. CLARK,                                     )   Eugene,    Oregon
                      r-7
                                                        Defendant,                 )

                      8

                      9                       TRANSCRIPT OF TELEPHONE ORAL ARGUMENT

                     10                       BEFORE THE HONORABLE MICHAEL R.                      HOGAN

                     11                          UNITED STATES DISTRICT COURT JUDGE

                     12

                     13

                     14

                     15
                                               APPEARANCES OF COUNSEL VIA TELEPHONE
                     16
                              FOR THE PLAINTIFF:                     LEAH C. LIVELY
                     17                                              Oglctree Deakins Nash Smoak &
                                                                       Stewart
                     18                                              222 SW Columbia Street
                                                                     Suite 1500
                     19                                              Portland, OR   97201
                                                                     (503) 552-2140
                     20                                              leah.lively@ogletreedeakins.com

                     21       FOR THE DEFENDANT:                     ANDREW G. CLARK, pro se
                                                                     3270 Stoney Ridge Road
                     22                                              Eugene, OR  97405
                                                                     (541) 510-3915
                     23
                              Court Reporter:                        Deborah Wilhelm., CSR, RPR
                     24                                              Court Reporter
                                                                     P,Q. Box 1504
                     25                                              Eugene, OR   97440
                                                                     (541} 505-0760




               April 20, 2020 Reply to Responses Case 6.20.cv.00253,aa Clark vs. Wells Fargo et al Page 6 of 5



                                                     EXHIBIT 1 Page 42 of 90
                Case 6:20-cv-00253-AA               Document 78-1           Filed 05/04/20      Page 43 of 90
To: Steven Seymour Samuels Yoelin Kanto   Page 7 of 18 2020-04-20 16:13:04 (GMT)                      14157043294 From: Andrew Clark




                                                                                                                              2


                         1                         (Tuesday/        May 8,         2C12;   9;36 a , m. )
                         2         (The following proceedings were had in chambers.)

                         3                                  PROCEED                    N G S
                         4                   THE CLERK:           This is the time set for Case

                       5     11-6248/        Wells Fargo Bank versus Clark,                      time set for
                       6     status conference and oral argument on motion for relief

                             from joint ^iling requirements.                          Number    /8.
                      8                     MR.     CLARK:        Okay.

                      9                      THE COURT:           Thank you.           I "nr. familiar with the
                     10      papers that have been filed.                          Is there anything you wish

                     11      to add?

                     12                     MR.    CLARK:         I — to be honest, with you.                      This
                     13      is Andy Clark over here at 3270 Stoney Ridge Road,                                      and
                     14      I’m just a little bit confused as to the overall status

                     lb      and what this particular matter is about.

                     16                     I haven't filed anything with the court since.

                     17      I think,       December,         if I’m not mistaken.                And I'm trying
                    18       to figure out what This Number 78 is.                             T1m not an
                    19       attorney.

                    20                      And so my feeling is,                   again,    there was an
                    21       overall wrong that has kind of gone on here.                                   I've pur
                    22       that in the local SWAT,                   they are doing an investigation

                    23       as of last week.               They are finally taking a look at

                    24       those events back in July.                      Ana the way 1 see it,                what
                    25       happened back in July,                 which T got on their own audio




               April 20, 2020 Reply to Responses Case 6.20.cv,0G253.aa Clark vs. Wells Fargo et al Page 7 of 5



                                                     EXHIBIT 1 Page 43 of 90
                Case 6:20-cv-00253-AA               Document 78-1           Filed 05/04/20    Page 44 of 90
To: Steven Seymour Samuels Yoelin Kanto   Page 8 of 18 2020-04-20 16:13:04 (GMT)                14157043294 From: Andrew Clark




                                                                                                                        3



                            and you can talk to them about it,                       it’s pretty clear.             I
                      1

                      2     mean. on July 18th before this all started, they had

                      3     already posted guards, you know, to                              for no reason.

                      4     And then they have arranged to have a fake 911 call and

                      5     I put it all online.                  And then they came at night to rr.y

                      6     house and they did not have a warrant at the time they
                      —-i

                            came to my house.                And you can clearly — very clearly

                      8     on their internal audio hear them call on July 18th

                      9     before any of thal arrest stuff started, you know, they

                     10     talked to Wells Fargo.

                     11                     And so I've been of the opinion that                           you

                     12     know.     I have been in contact with the FBI in real                                it

                     13     was financial                 you know, there was banking,                it’s

                     14     required as a mandatory reporter in banking to report

                     15     financial system fraud that you are involved in or see.

                     16     And whatever else you had on, that's your business, but

                     17     that's what I did.                  And, you know, they had a fraud and

                            everybody knew it.                  And so eventually when you get these

                     19      new requirements, they came a year ago r                         I 3 us t couldn1t

                     20      do it anymore.              I wouldn't do it anymore.                And rhey

                     21      asked about it and they pushed back.

                     22                      And the way I look at it, this whole thing

                      23     hasn't been looked at right and I've tried to be patient

                      24     and you understand that I have been getting every one of

                      25     these reports on this.                     I've made reference to my




               April 20, 2020 Reply to Responses Case 6.20.cv.00253,aa Clark vs. Wells Fargo et al Page 8 of 5



                                                     EXHIBIT 1 Page 44 of 90
                Case 6:20-cv-00253-AA               Document 78-1           Filed 05/04/20    Page 45 of 90
To: Steven Seymour Samuels Yoelin Kanto   Page 9 of 18 2020-04-20 16:13:04 (GMT)                  14157043294 From: Andrew Clark




                                                                                                                            4


                              opinion that they ever, influenced the family court.                                 - ns t
                         2    due to timing.             And I'm just trying to get this all

                         3    shoveled under the rug for everybody.                          All I want to do
                         4    is gel. Wells Fargo up here,                    and go,    look,    you guys.
                         5   this          you got            a.] L I wanted to do is fellow the law
                         6   and the policy.               So let's get this out of the courts,

                         7   you .<now.       let’s get this back to a nice friendly thing

                         8   where we're all working on a “earn for progress of the

                      9      bank and progress of the world and we're not dragging

                     10      dirt through civil courts and through all these

                     11      lit.i cations .

                     12                     T t1s just             it just don't seem to me t.o be
                     13      very productive when it’s just a matter of getting them

                     14      up here to settle it.                   And to settle with me,             you know.
                     15      T haven't been very specific about that,                            you know.        You
                     16      knew,     what I mean?                don't know.          Don't you get it?            I
                     ;7      just need it. resolved.                  My life is short.            i don't have
                    18       ten years or whatever corporations do.                           See,    I’ve been
                    19       subjected to a corporate process,                       something than lawyers
                    20       spend 10 years,            20 years,         they don't care.           I'm just me.
                    21       I'm 53.        This is killing me,                you know,     faster than
                    22       thought it might,             okay?        And so I really don't know what
                    23       tc do .      I honestly don't.

                    24                      Last tine            was “here,        1 was cold not to file
                    25       motions except through the federal system,                           well   f   I feel




               April 20, 2020 Reply to Responses Case 6.20.cv,GG253.aa Clark vs. Wells Fargo et al Page 9 of 5



                                                     EXHIBIT 1 Page 45 of 90
                Case 6:20-cv-00253-AA               Document 78-1           Filed 05/04/20     Page 46 of 90
To: Steven Seymour Samuels Yoelin Kant   Page 10 of 18 2020-04-20 16:13:04 (GMT)                    14157043294 From: Andrew Clark




                                                                                                                                5



                      1    a little nervous about firing motions through the

                                                            i'm pretty handy with systems.                        i
                      2    federal systems.

                      3    don't want to get in any trouble with the system guys.

                      4    So 1 don't know what to tell you.

                      5                     Whatever it is we need to do,                    you know,        I

                      6     didn't appeal th:s, had a judgment back in January.                                           The

                      7     way I see it,            there wasn't a grain of truth in. it, but,

                      8     again.       I don't want to be contentious with anybody,                                 you

                      9     understand?            I'm right here in my house.                      You know,         I

                     10     ain't hiding from anybody.                       And I just need some relief

                     11     from the court in a different way.                           I'm just a human.                    I

                     12     don't have the knowledge and I don't have the time and ±

                     13     don't think it's right in this small community to be

                     14     dragging all the little people through this.

                     15                      I wrote a letter to my congressman on April

                     16     10th and he says,               well       we suggest you talk to Kitty

                     17     Piercy on the town city council.                           You know,       it's really

                     18     infuriating to me, because I've been trying                                     I've got

                     19      letters after letters after letters.                            And,    you know,            I

                     20     posted It all on my Web site and I tried to make it so

                     21     people wouldn't see it fast.                           You know,   I tried to make

                      22     it so it was hard to get to.                          And then 1 kind of moved

                     23      it around a little bit, but I just want to get on with

                      24     my life.          Don't you understand?

                      25                      I've got people who Google me and look what




               April 20, 2020 Reply to Responses Case 6.20.cv,00253.aa Clark vs. Wells Fargo et al Page 10 of 5



                                                     EXHIBIT 1 Page 46 of 90
                Case 6:20-cv-00253-AA               Document 78-1          Filed 05/04/20     Page 47 of 90
To: Steven Seymour Samuels Yoelin Kant   Page11 of 18 2020-04-20 16:13:04 (GMT)                   14157043294 From: Andrew Clark




                                                                                                                           6


                          1   they see,        they see these federal actions,                    right?       You
                         2    know.      so I don't know what to do.                    If it'3          Judge,       if
                         3    you’re there,           or Ycur Honor,              anybody in the FBI,
                         4    whatever you all need, but I need you to all look at

                         5    what I’ve put into that court and the fact that I don't

                         6    want to be dragging it through the rr.ud.                        That's ray only
                       7      objective.           I go i nto court and T just shut rr.y mouth.

                       8      because it’s me,            and T can deal with it,              and I don't
                       9      want to be dragging through the courts.                         It’s not right.
                     :c                     THE COURT:           Well, Mr. Clark              okay, Mr. Clark.
                     11                     Ms.     lively,      do you have anything on the notion

                     12       for relief from joint filing requirements?

                     13                     MR.     CLARK:       What is it?          I don’t know what the
                     14       joint filing requirement is.

                     15                     THE COURT:           Well,     our rules require sons things
                     16       to be signed by both parties.                        And according to
                     17       Ms. Lively,          it's been more difficult to get your

                     IB       cooperation on that.                Oust

                    19                      MR.    CLARK:       Well

                    20                      THE COURT:          Just a moment,          Mr.   Clark.
                    21                      Ms .   Lively, do you have anything more on that?

                    22                      MS.    LIVELY:        Kot on that specific motion,                  no,
                    23        Your Honor.

                    24                      MR.    CLARK:       What is it that               what is this
                    25        that I'm supposed — my feeling is that I’ve qot a




               April 20, 2020 Reply to Responses Case 6.20.cv,QQ253.aa Clark vs. Wells Fargo et al Page 11 of 5



                                                     EXHIBIT 1 Page 47 of 90
                Case 6:20-cv-00253-AA               Document 78-1           Filed 05/04/20     Page 48 of 90
To: Steven Seymour Samuels Yoelin Kant   Page 12 of 18 2020-04-20 16:13:04 (GMT)                 14157043294 From: Andrew Clark




                                                                                                                       7



                      1    certain legal position based in evidence.                              Okay.      The

                      2    evidence

                      3                     THE COURT:           Hang on, Mr.         Clark,    okay-     The

                      4    motion is granted.

                      5                     Now,     what exactly                  what relief or whet are

                            the plaintiff’s plans for this case?                           This does not

                      7     appear to be a matter that's well suited to a trial.

                      3     What do you hope to achieve?

                      S                     MR.    CLARK:        Well

                     10                     THE COURT:           No,    no. Mr. Clark,         I'm asking

                     11     Ms.    Lively this.

                     12                     MR.    CLARK:        I'm sorry,          I apologize.

                     13                     THE COURT:           What are the bank's plans for the

                     14     case?

                     15                     MS.    LIVELY:         Your Honor,         we'd like two things.

                     16     One, we have broached the subject of mediation with

                     17     Mr.    Clark.         And,     in fact,       have         if he will         if he

                     18     finds a mediator.               we've agreed to pay all costs for a

                     19     third-party mediator,                  whether that be a private mediator

                     20     that is somebody suitable for mediation or whether it's

                     21     something that the court does in order to try and

                     22      resolve that.             And my understanding is Mr.                 Clark doesn’t

                     23      think a third party is something he needs.                             So we

                     24     would            you know,        we would be willing to talk to

                     25      Mr.    Clark about that,               but we do feel that a third party




               April 20, 2020 Reply to Responses Case 6.20.cv.00253,aa Clark vs. Wells Fargo et al Page 12 of 5



                                                     EXHIBIT 1 Page 48 of 90
                Case 6:20-cv-00253-AA                Document 78-1           Filed 05/04/20    Page 49 of 90
To: Steven Seymour Samuels Yoelin Kant    Page 13 of 18 2020-04-20 16:13:04 (GMT)                14157043294 From: Andrew Clark




                                                                                                                         8


                         1   would be necessary in order lo do that.

                         2                    Beyond that,           we'd like to move ior a permanent

                         3   injunction.             However,        we need a judgment on rhe merits

                         4   tc do that.           so werd like a summary judgment deadline so

                         5   that we can file for summary judgment and then move --

                         6   yon know,          if that were to be granted,                   then move for a
                      7      permanent injunction.

                      3                       THE COURT:           I'll give the parties 30 days to

                      9      file dispositive motions.

                     10                      MR.     CLARK:        Okay.       And so what I need to do is

                     11      get t.he motions to you.                     My motion,    you know, would be.
                     12      number one,           to resurrect my other motions,                 which I don't
                     13      think were really heard,                     and start going through the

                     14      evidence that i submitted, to the court that was sealed.

                    15       In ether words,              1 do believe that there is trial

                    16       because             ITm going to put it all in a motion form, bur

                    17       a lot of it's already in there.                        don’t you guys see?           A
                    18       lot of it's already been submitted,                        okay?
                    19                       Now, Ms.        Lively,       with regard to mediation, my

                    20       understanding of mediation,                       that as soon as I agree tc
                    21       thar.,      r.hen I give up all these rights.                     In other words.
                    22       we 11,      it's like you kind of don't have any rights,

                    23       otherwise once you sign up for the mediation.

                    24       Furthermore,           uhe way 1 look at it,              a _oo of this
                    25       nacerial is sort of banking — you know.                            it’s




               April 20, 2020 Reply to Responses Case 6.20.cv,QQ253.aa Clark vs. Wells Fargo et ai Page 13 of 5



                                                      EXHIBIT 1 Page 49 of 90
                Case 6:20-cv-00253-AA               Document 78-1           Filed 05/04/20    Page 50 of 90
To: Steven Seymour Samuels Yoelin Kant   Page 14 of 18 2020-04-20 16:13:04 (GMT)                 14157043294 From: Andrew Clark




                                                                                                                       9



                      1    proprietary.

                      2                     THE COURT:           Let -Tie

                      3                     MR. CLARK:           So I can't go over that

                      4                     THE COURT:           Mr.    Clark,     let me help you on

                      5     mediation,         all right?           Mediation is something that

                      6     people come together and someone helps them try to find

                      7     a solution they all can agree on.                         It's not that i~ is

                      8     imposed on them.                They agree to meet.              And the third

                      9     party tries to help find common ground.                             And so it's a

                            way of settling a matter.                       You don't give up other

                     11     rights by going to mediation.                          It's a way of trying to

                     12     resolve something short of the courtroom where everyone

                     13     agrees on the end result.                       I think that's what's being

                     14     proposed here.

                     15                     MS.     LIVELY:        That is correct,          Your Honor.         We

                     16     wouldn't expect Mr.                 Clark to give up any rights unless

                     17     during the mediation there was,                         you know,    a settlement

                     18     reached,         and certainly not by going to the mediation

                     19      itself.

                     20                      MR.    CuARK;        Okay.       I need to         see, here’s the

                     21      thing,      okay,      I need everybody to understand that,                      you

                     22      know.       that as hard as I try to act brave.                     I'm not that

                     23      brave.        Okay?       You know,         as hard as I try to act mean.

                     24      I'm not mean.              Okay?       I try hard to withstand it,               and I

                     25      can’t stand it.               I mean,       they’ve hit me so hard,            and the




               April 20, 2020 Reply to Responses Case 6.20.cv.00253,aa Clark vs. Wells Fargo et al Page 14 of 5



                                                     EXHIBIT 1 Page 50 of 90
                Case 6:20-cv-00253-AA               Document 78-1           Filed 05/04/20    Page 51 of 90
To: Steven Seymour Samuels Yoelin Kant   Page 15 of 18 2020-04-20 16:13:04 (GMT)                      14157043294 From: Andrew Clark




                                                                                                                              10


                          1   family court- is what kills me.                      I can’t deal with that.
                         2    That's bizarre.              And I just twist in the wind.                        It's
                         3    something that you guys don’t understand,                               the emotional
                         4    and the physical effects of.

                         5                   THE COURT:           All right.        What I'm going
                         6                   MR.    ClARK:        And it’s caused a great:
                         7    defensibility,           it's caused

                       8                     THE COURT:           Mr.    Clark?

                       9                     MR.    CLARK:              a lack of ability to deal with

                     10       this correctly.

                     11                     THE COURT:           Mr,     Clark?

                     12                     MR.     CLARK:        Yes,    sir.     Yes,   Your Honor.
                     13                     THE COURT:            I'm going to give each of you two

                     14       weeks tc suggest a mediator to me in writing.

                     15                     MR.    CLARK:        Okay.

                     16                     THE COURT:           And I'll take a          look at that and
                     17       I'll decide on cur future situation of this case.                                   all
                    18        right?

                    19                      MR.    CLARK:        Yeah.       That 1s what     T   |
                                                                                                      m thinking,        if
                    20        you are the judge,              right,      are you Judge Hogan or the
                    21        phone with me here?

                    22                      THE COURT:           Yes,     sir.     And there is a chance
                    23                      MR.    CLARK:        I want to put it in your hands.
                    24        Whatever,       Judge,      it's like I told you,              you teii me to go
                    25        into the third and I'll go inr.o the third.                               You




               April 20, 2020 Reply to Responses Case 6.2G.cv.QG253.aa Clark vs. Wells Fargo et al Page 15 of 5



                                                     EXHIBIT 1 Page 51 of 90
                Case 6:20-cv-00253-AA               Document 78-1             Filed 05/04/20    Page 52 of 90
To: Steven Seymour Samuels Yoelin Kant   Page 16 of 18 2020-04-20 16:13:04 (GMT)                    14157043294 From: Andrew Clark




                                                                                                                         11



                      1     understand?            Whatever you tell me,                I do.       It's in your

                      2     hands *

                      3                     THE COURT:           Well

                      4                     MR.    CLARK:        That's what I'm saying,                  it’s in

                      b     your hands.            You're like my father and my mother in that

                      6     way,     it's in your hands.                  I can’t deal with it.                You got

                      -7
                            it all.         I don't believe in having stuff spewed ail over

                      8     and everything.               I just want things done whatever.

                      9     fastest way.             If you know a good mediator,                    just maybe

                     10     recommend.          I'll look in the phone book,                    how about that?

                     11     I'll want it to be okay with Ms.                         Lively,       toe,    okay?

                     12                     THE COURT:           Ail. right.         And by the way I’m —

                     13                     MR.    CLARK:         I don't want no problems.

                     14                     THE COURT:            I'm going to take a look at who you

                     lb     suggest.          I might do it myself.                  I'm a pretty good

                     16     mediator myself.

                     17                     MR.     CLARK:        Yes,    sir.      And,    again,     I am the

                     18     nicest person hut I kind of got tweaked,                               you understand?

                     19     And other people do weird things and I try to just show

                     20     people in this very private but sort of not private way.

                     21     we can't have a society like this.                             We have tc

                     22                      THE COURT:           Mr.    Clark.

                     23                      MR.    CLARK:              let        okay,    yes.    Your Honor,

                     24      I'm going to shut up,                  okay.

                     25                      THE COURT:           I’ve got a really busy calendar.




               April 20, 2020 Reply to Responses Case 6.20.cv.00253,aa Clark vs. Wells Fargo et al Page 16 of 5



                                                     EXHIBIT 1 Page 52 of 90
                Case 6:20-cv-00253-AA               Document 78-1           Filed 05/04/20   Page 53 of 90
To: Steven Seymour Samuels Yoelin Kant   Page 17 of 18 2020-04-20 16:13:04 (GMT)               14157043294 From: Andrew Clark




                                                                                                                     12


                       1    don't, have any more today.                     but we'll talk after

                      2                      MS.    LIVELY:         Your Honor,       I’m sorry,    I
                      3     understand you have to go.                        Would it be possible to get

                      4     a dispositive motion deadline after the mediation,                                like
                      5     30 days following the mediation?

                      6                      THE COURT:           Yes, but let's go ahead right

                      7     yeah,        okay

                      8                     MR.     CLARK:        Do 1 have to respond to the

                      9     metion

                     10                     THE COURT:            Actually,        I'll do that.        I'll take
                     11     off the 30-day situation.                       That’s fine with ne.          TA1e '11
                     12     do a mediation first,                  and either with someone you

                     13     suggest or          .   will do it.           I haven't decided.         All right?
                    14                      MS.     LIVELY:        Thank you.       Your Honor.

                    15                      MR.     CLARK:       Yeah,      whatever is good.      Your Honor.
                     16     I just want it resolved.

                    ]7                      THE COURT:           All     right.     Thank you very much.

                    13      We're in recess.

                    19                       (The proceedings were concluded at 9:47 a.n.)

                    20

                    21

                    22

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               April 20, 2020 Reply to Responses Case 6.20.cv.00253,aa Clark vs. Wells Fargo et al Page 17 of 5



                                                     EXHIBIT 1 Page 53 of 90
                Case 6:20-cv-00253-AA               Document 78-1           Filed 05/04/20   Page 54 of 90
To: Steven Seymour Samuels Yoelin Kant   Page 18 of 18 2020-04-20 16:13:04 (GMT)               14157043294 From: Andrew Clark




                                                                                                                    13



                      1                                             CERTIFICATE

                      2                  I,   Deborah Wilhelm,             Certified Shorthand Reporter

                      3     for the State of Oregon i                   do hereby certify that I was

                      4    present at and reported in machine shorthand the oraJ

                      5     proceedings had in the above-entitled matter.                             I hereby

                      6     certify that the foregoing is a true and correct

                      7     transcript,          to the best of my skill and ability,                     dated

                      8     this 8th day of February,                     2016.

                      9

                     10

                     11
                                                                              /s/ Deborah Wilhelm
                     12
                                                                              Deborah Wilhelm, RPR
                     13                                                       Certified Shorthand Reporter
                                                                              Certificate No. 00-0363
                     14

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               April 20, 2020 Reply to Responses Case 6.20.cv.00253,aa Clark vs. Wells Fargo et al Page 18 of 5



                                                     EXHIBIT 1 Page 54 of 90
                 Case 6:20-cv-00253-AA                   Document 78-1         Filed 05/04/20   Page 55 of 90
To: Christopher Mixon Ogletree-Nashville   Page 1 of 6    2020-04-27 19:06:13 (GMT)               14157043294 From: Andrew Clark




                  FAX COVER SHEET
                  TO                        Christopher Mixon Ogletree- Nashville
                  COMPANY
                  FAXNUMBER                 16152541908
                  FROM                      AndrewClark
                  DATE                      2020-04-2719:05:30 GMT
                  RE                        20-00253 Filed 4.27.20


                  COVER MESSAGE

                  David Campbell, Ellen Rosenblum, Alex Gardner, Amber Hollister, Barry Davis,
                  Ben Miller, Ben Gutman, Bruce Newton, C. Matthew Keen, Christian Rowley,
                  Christopher Mixon, David P.R. Symes, Erik Hasselman, Leah Lively, Peter Urias

                  From Andy Clark 541.510.3915




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                                                         EXHIBIT 1 Page 55 of 90
                 Case 6:20-cv-00253-AA                      Document 78-1          Filed 05/04/20   Page 56 of 90
To: Christopher Mixon Ogletree- Nashville     Page 2 of 6    2020-04-27 19:06:13 (GMT)                14157043294 From: Andrew Clark




                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF OREGON
                                                 Eugene, Oregon Division




            Andrew Clark, Plaintiff
            3270 Stoney Ridge Rd.
            Eugene, OR 97405 541-510.3915
            OperaiionSunriseLaw(o'gmail.eom                       Civil Complaint Case: 6.cv-20-253-aa
                                                                   Reply to April 9, 2020 Response by Mr. Pollino
            Wells Fargo and Company
            420 Montgomery St. San Francisco, CA 94163             Objection to Mr. Pollino’s Motion for Protective Order.
            as Voluntary or Mandatory
            Intervenor for Plaintiff
                                                                   April 27, 2020




            vs. Defendants:
            Wells Fargo Bank, et al


                                              Objection to Motion for Protective Order and
                                     Reply to Mr. Poilino and Client’s April 9, 2020 Response
                                            This Part of the Reply Applies to Ail/Most Defendants

            Attached is an email to Pam llolsingcr. AUSA-DOJ Portland dated April 23, 2020. It summarizes now-
            obvious truth about Ogletree Deakins, Leah Lively, David PR Symes, and Steven Seymour et al. Their
            ‘Motion for Protective Order’ is totally disingenuous and must be denied by the Court. It represents
            perjury' and further “intimidation of a Federal Witness" typical of their past obstructive conduct in this
            court and elsewhere. Their response only acts to strengthen the case against them.

            Defendants: the reason for bringing DOJ (etc.) in on this is two-fold:

            1) As described in my complaint - in late-2013 local FBI agent. Ken Jamison told me to use the courts
            for a “civil compromise” of crimes 1 alleged were eommiUcd against me. About a month ago, I was
            informed that “federal witness tampering" is a crime against the legal system and 1 lack legal right to
            engage in “civil compromise” around it. I corrected that oversight using Docket 56 and by bringing
            United States attorneys in to “sprinkle holy water’ on our upcoming ADR activities (gentle hint:)

                Case 20-00253 Clark vs. Weils Fargo et ai Reply to Mr. Pollino's Clients   1 of 5




                                                            EXHIBIT 1 Page 56 of 90
                 Case 6:20-cv-00253-AA                    Document 78-1           Filed 05/04/20     Page 57 of 90
To: Christopher Mixon Ogletree- Nashville   Page 3 of 6    2020-04-27 19:06:13 (GMT)                    14157043294 From: Andrew Clark




            2) I suspected a problem within the court in the way my motions were denied causing all the facts and
            evidence to be totally bypassed without adjudication. That is best seen in the PACER record of case
            13-01103. A dozen or so Motions of Adjudicative Fact were placed into the court along with
            reasonable evidence. The PACER, record of the case and the appeal shows how all of them were
            bypassed as a batch without even referencing their title or purpose in all the courts,      When T saw
            indications of it happening here... I reported it.

            T see no evidence that anyone at Wells Fargo is aware of the actual details of this situation. That only
            makes it worse; it does not excuse them. All indications are that the involved attorneys do whatever
            they want in the name of Wells Fargo...which pays the hill endlessly without ever being aware of why
            they are in court. As necessary, T will input another motion later for Wel ls Fargo and Company to
            intervene on mandatory basis.


                     Tins Part of the Reply Apphes Mostly to the April 9. 2020 Pleadings of Mr. Polling et al

            My complaint accurately describes and documents every issue that Attorney Pollino raises in defense of
            his clients in his April 9 filing.. 1 was compelled to report an ethics violation against Mr. Pollino with
            the State Bar and other authorities. He lied to the court with his LR-7 filing claiming we conferred
            when in fact we did not as demonstrated with Ills email.           Docket 56 is a formal Federal Crime Report
            proving Federal Witness Tampering by Wells Fargo/Ogletree Deakins. It is now obvious to all why
            Ogletree Deakins et ai committed the series of RICO crimes against me and did so much to make it
            difficult to detect and report to others.

            Mr. Pollino is incorrect regarding Wells Fargo and Company (WFC) as intervenor in this case involving
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                Case 20-00253 Clark vs. Weiis Fargo etai Reply to Mr. Pollino's Clients   2 of 5




                                                          EXHIBIT 1 Page 57 of 90
                 Case 6:20-cv-00253-AA                    Document 78-1           Filed 05/04/20      Page 58 of 90
To: Christopher Mixon Ogletree- Nashville   Page 4 of 6    2020-04-27 19:06:13 (GMT)                     14157043294 From: Andrew Clark




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                Case 20-00253 Clark vs. Weils Fargo et ai Reply to Mr. Pollino's Clients   3 of 5




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To: Christopher Mixon Ogletree- Nashville   Page 5 of 6    2020-04-27 19:06:13 (GMT)                 14157043294 From: Andrew Clark




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            Signed and Sworn to as Truth

                /s Andrew Clark

            Plaintiff Pro Se Andrew Clark 3270 Stoney Ridge Rd, Eugene, Oregon 97405

            541.510.3915 www.RisePatnot.com (police/court av) www.WellsFargoWitz.com (family court av)




                Case 20-00253 Clark vs. Weiis Fargo etai Reply to Mr. Pollino's Clients   4 of 5




                                                          EXHIBIT 1 Page 59 of 90
                    Case 6:20-cv-00253-AA                          Document 78-1                    Filed 05/04/20                 Page 60 of 90
To: Christopher Mixon Ogletree- Nashville           Page 6 of 6       2020-04-27 19:06:13 (GMT)                                        14157043294 From: Andrew Clark


     4/26/2020                                        Gmail - Let’s Talk Progress. We are VICTIMS. Bar Association and the Courts was



      fyj Gmail                                                                                         Operation SunriseLAW <operBUonsunrtseiaw@gm8ll.com>



       Let's Talk Progress. We are VICTIMS. Bar Association and the Courts was
       1 message

      Operation SunriseLAW <operationsunriselaw@gmail.com>                                                                                Thu, Apr 23, 2020 at 12:21 PM
      To: Nik Chourey <nchourey@osbar.org>, pamala.holsinger@usdoj.gov

        Nik.... I am sending this only to you and Pamaia Holsinger, AUSA. Bar Association and the Courts were'punked'by Wells Fargo/Ogletree Deakins
        elaborately constructed lies that represent their nationwide business model. I am pretty sure you (and everyone else) is suddenly bonified when they saw
        that simple proof of federal witness tampering (docket 56). That is why I think we should find some way to settle our situation in ADR... I am certain my
        case is both right and righteous. I have been at this way longer than any citizen should have to. I am a victim in need of relief. I honestly think you folks
        should reach out with healing hands.

        Here is the problem and it even affects my response due them pursuant to their April 9 response filing. All my obligations continue as this drags on.
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        4. Use of official system to self-generate a large cost bill against me (dkt 137 in 11.06248)
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         2 attachments
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             2202K




                   Case 20-00253 Clark vs. Wells Fargo etal Reply to Mr. Pollino's Clients                   5 of 5

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To: C. Matthew Keen Ogletree-Raleigh   Page 1 of 6    2020-04-27 19:09:37 (GMT)               14157043294 From: Andrew Clark




                  FAX COVER SHEET
                 TO                        C. Matthew Keen Ogletree-Raleigh
                 COMPANY
                 FAXNUMBER                 19197839412
                 FROM                      AndrewClark
                 DATE                      2020-04-2719:05:27 GMT
                 RE                        20-00253 Filed 4.27.20


                 COVER MESSAGE

                 DavidCampbell, Ellen Rosenblum, Alex Gardner, Amber Hollister, Barry Davis,
                 Ben Miller, Ben Gutman, Bruce Newton, C. Matthew Keen, Christian Rowley,
                 Christopher Mixon, David P.R. Symes, Erik Hasselman, Leah Lively, Peter Urias

                  From Andy Clark 541.510.3915




                                                       WWW.METROFAX.COM



                                                     EXHIBIT 1 Page 61 of 90
                Case 6:20-cv-00253-AA                  Document 78-1              Filed 05/04/20   Page 62 of 90
To: C. Matthew Keen Ogletree-Raleigh    Page 2 of 6       2020-04-27 19:09:37 (GMT)                  14157043294 From: Andrew Clark




                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF OREGON
                                              Eugene, Oregon Division




           Andrew Clark, Plaintiff
           3270 Stoney Ridge Rd.
           Eugene, OR 97405 541-510.3915
           OperaiionSunriseLaw(o'gmail.eom                      Civil Complaint Case: 6.cv-20-253-aa
                                                                 Reply to April 9, 2020 Response by Mr. Pollino
           Wells Fargo and Company
           420 Montgomery St. San Francisco, CA 94163            Objection to Mr. Pollino’s Motion for Protective Order.
           as Voluntary or Mandatory
           Intervenor for Plaintiff
                                                                 April 27, 2020




           vs. Defendants:
           Wells Fargo Bank, et al


                                           Objection to Motion for Protective Order and
                                    Reply to Mr. Poilino and Client’s April 9, 2020 Response
                                        This Part of the Reply Applies to Ail/Most Defendants

           Attached is an email to Pam llolsingcr. AUSA-DOJ Portland dated April 23, 2020. It summarizes now-
           obvious truth about Ogletree Deakins, Leah Lively, David PR Symes, and Steven Seymour et al. Their
           ‘Motion for Protective Order’ is totally disingenuous and must be denied by the Court. It represents
           perjury' and further “intimidation of a Federal Witness" typical of their past obstructive conduct in this
           court and elsewhere. Their response only acts to strengthen the case against them.

           Defendants: the reason for bringing DOJ (etc.) in on this is two-fold:

            1) As described in my complaint - in late-2013 local FBI agent. Ken Jamison told me to use the courts
           for a “civil compromise” of crimes 1 alleged were eommiUed against me. About a month ago, I was
           informed that “federal witness tampering" is a crime against the legal system and 1 lack legal right to
           engage in “civil compromise” around it. I corrected that oversight using Docket 56 and by bringing
           United States attorneys in to “sprinkle holy water’ on our upcoming ADR activities (gentle hint:)

               Case 20-00253 Clark vs. Weils Fargo et al Reply to Mr. Pollino's Clients   1 of 5




                                                        EXHIBIT 1 Page 62 of 90
                Case 6:20-cv-00253-AA                  Document 78-1             Filed 05/04/20     Page 63 of 90
To: C. Matthew Keen Ogletree-Raleigh    Page 3 of 6      2020-04-27 19:09:37 (GMT)                     14157043294 From: Andrew Clark




           2) I suspected a problem within the court in the way my motions were denied causing all the facts and
           evidence to be totally bypassed without adjudication. That is best seen in the PACER record of case
            13-01103. A dozen or so Motions of Adjudicative Fact were placed into the court along with
           reasonable evidence. The PACER, record of the case and the appeal shows how all of them were
           bypassed as a batch without even referencing their title or purpose in all the courts,      When T saw
           indications of it happening here... I reported it.

           T see no evidence that anyone at Wells Fargo is aware of the actual details of this situation. That only
           makes it worse; it does not excuse them. All indications are that the involved attorneys do whatever
           they want in the name of Wells Fargo...which pays the hill endlessly without ever being aware of why
           they are in court. As necessary, T will input another motion later for Wel ls Fargo and Company to
           intervene on mandatory basis.


                   Tins Part of the Reply Apphes Mostly to the April 9. 2020 Pleadings of Mr. Polling et al

           My complaint accurately describes and documents every issue that Attorney Pollino raises in defense of
           his clients in his April 9 filing.. 1 was compelled to report an ethics violation against Mr. Pollino with
           the State Bar and other authorities. He lied to the court with his LR-7 filing claiming we conferred
           when in fact we did not as demonstrated with Ills email.           Docket 56 is a formal Federal Crime Report
           proving Federal Witness Tampering by Wells Fargo/Ogletree Deakins. It is now obvious to all why
           Ogietree Deakins et ai committed the series of RICO crimes against me and did so much to make it
           difficult to detect and report to others.

           Mr. Pollino is incorrect regarding Wells Fargo and Company (WFC) as intervenor in this case involving
           its Bank,    My complaint explains how the proven violent tampering concurrent with the Department
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      fyj Gmail                                                                                         Operation SunriseLAW <operBUonsunrtseiaw@gm8ll.com>



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      1 message

      Operation SunriseLAW <operationsunriselaw@gmail.com>                                                                                Thu, Apr 23, 2020 at 12:21 PM
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             2202K




                  Case 20-00253 Clark vs. Wells Fargo etal Reply to Mr. Pollino's Clients                    5 of 5

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                                                                    EXHIBIT 1 Page 66 of 90
      Case 6:20-cv-00253-AA                   Document 78-1                 Filed 05/04/20           Page 67 of 90


From:             John E. Pollino
To:               Elizabeth L. Polay; Kim E. Hoyt; Jade M. Bostwick
Subject:          FW: Reply filed yesterday to Mr. Pollino"s clients. It relates to all Defendants
Date:             Tuesday, April 28, 2020 8:43:28 AM
Attachments:      2020oglereply.pdf




From: Operation SunriseLAW <operationsunriselaw@gmail.com>
Sent: Tuesday, April 28, 2020 8:34 AM
To: John E. Pollino <jpollino@ghrlawyers.com>
Subject: Fwd: Reply filed yesterday to Mr. Pollino's clients. It relates to all Defendants




---------- Forwarded message ---------
From: Operation SunriseLAW <operationsunriselaw@gmail.com>
Date: Tue, Apr 28, 2020 at 8:33 AM
Subject: Reply filed yesterday to Mr. Pollino's clients. It relates to all Defendants
To: <bsime@pbswlaw.com>, Rowley, Christian <crowley@seyfarth.com>, David Jacobs
<djacobs@luvaascobb.com>, <hgo@eugene-or.gov>, Spooner Jessica
<Jessica.Spooner@doj.state.or.us>, <sebastian.tapia@co.lane.or.us>, Tom Spooner
<tspooner@smapc.com>


We are all VICTIMS of what Wells Fargo and Mr. Pollino's clients perpetrated upon our community.
They are a bad case of Anal Worms who bleed their clients from the bottom up. They are also the
ACTIVE RICO participants.

You (or your clients) are being sued for vicarious participation in a RICO enterprise that engaged in
violent tampering of a federal witness. For most Defendants, all you need do is "the right thing" now
because you now reasonably know you acted against me based on LIES of your fellow attorneys.
So.... let's talk ADR !!!

Time to 'Stop Their Concealing and Start Our Healing !!!




                                               EXHIBIT 1 Page 67 of 90
       Case 6:20-cv-00253-AA         Document 78-1       Filed 05/04/20     Page 68 of 90




Attachments:    theybbad.pdf
                image001.jpg
                image002.png




From: ANDY CLARK [mailto:mir99@comcast.net]
Sent: Wednesday, April 29, 2020 6:51 AM
To: matt.keen@ogletree.com; leahlively@dwt.com; dsymes@littler.com;
christopher.mixon@ogletree.com; judge@hoganmediation.net; osp.forensics@state.or.us;
Erik.Hasselman@lanecountyor.gov; Steve Seymour (x102); benjamin.gutman@doj.state.or.us;
barry@barrydavislaw.com; David.Campbell@lewisbrisbois.com; info@bromleynewton.com;


                                     EXHIBIT 1 Page 68 of 90
       Case 6:20-cv-00253-AA           Document 78-1         Filed 05/04/20       Page 69 of 90




ellen.f.rosenblum@doj.state.or.us; sebastian.tapia@co.lane.or.us; ben.j.miller@ci.eugene.or.us;
vanessa.a.nordyke@doj.state.or.us; boardcommunications@wellsfargo.com
Subject: Public would Panic

Attached is a cornucopia of news articles and even a very unusual lawsuit filed by Ogletree
Deakins in Maricopa County, AZ in the "Sheriff Joe" case. Look what they do to people and
government agencies, it is beyond the pale. Imagine the public panic when they learn
employment attorneys can have them taken in chains from their homes without valid warrants
by simply calling in bogus police reports. They got caught in AZ, time to catch them here.
This was in the same general trimeframe as when they had me first false-arrested as described
in detail in my Complaint 20-000253. Mr. Pollino and his clients are covering up hard, cold
CRIME. Let's stop them.

False arrest, AKA "SWATTING" is a large problem because it is so easy to "SWAT"
someone and as you can see, it is nearly impossible to unwind the effects of being
SWATTED.

As attorneys, you need to STOP supporting Ogletree Deakins here in Oregon. They are a ship
of THIEVES (eg Docket 137 in 11-06248...I will not pay that as it is the result of CRIME... I
will sue endlessly until they correct their damage to us all. We need to 'out' them and MAKE
THEM PAY FOR WHAT THEY ARE DOING TO US. STOP CONCEALING FOR
OGLETREE DEAKINS. START HEALING ME.. THEIR VICTIM.

Thank you from Andy Clark 541.510.3915




                                        EXHIBIT 1 Page 69 of 90
Case 6:20-cv-00253-AA    Document 78-1      Filed 05/04/20   Page 70 of 90




From: ANDY CLARK <mir99@comcast.net>

                          EXHIBIT 1 Page 70 of 90
Case 6:20-cv-00253-AA        Document 78-1        Filed 05/04/20     Page 71 of 90


Sent: Wednesday, April 29, 2020 6:51 AM
To: matt.keen@ogletree.com; leahlively@dwt.com; Symes, David P.R.
<dsymes@littler.com>; christopher.mixon@ogletree.com; judge@hoganmediation.net;
osp.forensics@state.or.us; Erik.Hasselman@lanecountyor.gov;
SWS@SamuelsLaw.com; benjamin.gutman@doj.state.or.us; barry@barrydavislaw.com;
David.Campbell@lewisbrisbois.com; info@bromleynewton.com;
ellen.f.rosenblum@doj.state.or.us; sebastian.tapia@co.lane.or.us;
ben.j.miller@ci.eugene.or.us; vanessa.a.nordyke@doj.state.or.us;
boardcommunications@wellsfargo.com
Subject: Public would Panic


[EXTERNAL E-MAIL]



Attached is a cornucopia of news articles and even a very unusual lawsuit filed by
Ogletree Deakins in Maricopa County, AZ in the "Sheriff Joe" case. Look what
they do to people and government agencies, it is beyond the pale. Imagine the
public panic when they learn employment attorneys can have them taken in chains
from their homes without valid warrants by simply calling in bogus police
reports. They got caught in AZ, time to catch them here. This was in the same
general trimeframe as when they had me first false-arrested as described in detail
in my Complaint 20-000253. Mr. Pollino and his clients are covering up hard,
cold CRIME. Let's stop them.

False arrest, AKA "SWATTING" is a large problem because it is so easy to
"SWAT" someone and as you can see, it is nearly impossible to unwind the
effects of being SWATTED.

As attorneys, you need to STOP supporting Ogletree Deakins here in Oregon.
They are a ship of THIEVES (eg Docket 137 in 11-06248...I will not pay that as it
is the result of CRIME... I will sue endlessly until they correct their damage to us
all. We need to 'out' them and MAKE THEM PAY FOR WHAT THEY ARE
DOING TO US. STOP CONCEALING FOR OGLETREE DEAKINS. START
HEALING ME.. THEIR VICTIM.

Thank you from Andy Clark 541.510.3915

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       Case 6:20-cv-00253-AA          Document 78-1        Filed 05/04/20     Page 72 of 90




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      Case 6:20-cv-00253-AA               Document 78-1      Filed 05/04/20    Page 73 of 90




Date:            Wednesday, April 29, 2020 8:55:39 AM
Attachments:     theybbad.pdf




From: ANDY CLARK <mir99@comcast.net>
Sent: Wednesday, April 29, 2020 6:47 AM
To: John E. Pollino <jpollino@ghrlawyers.com>; bsime@pbswlaw.com; crowley@seyfarth.com;
djacobs@luvaascobb.com; hgo@eugene-or.gov; Jessica.Spooner@doj.state.or.us;
sebastian.tapia@co.lane.or.us; tspooner@smapc.com; ahollister@osbar.org; nchourey@osbar.org;
pamala.darnell@co.lane.or.us; Jared.Hager@usdoj.gov; pamala.holsinger@usdoj.gov;
bill.williams@usdoj.gov
Subject: Public Would Panic

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in Maricopa County, AZ in the "Sheriff Joe" case. Look what they do to people and government
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have them taken in chains from their homes without valid warrants by simply calling in bogus police
reports. They got caught in AZ, time to catch them here. This was in the same general trimeframe
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Pollino and his clients are covering up hard, cold CRIME. Let's stop them.

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THIEVES (eg Docket 137 in 11-06248...I will not pay that as it is the result of CRIME. We need to 'out'
them and MAKE THEM PAY FOR WHAT THEY ARE DOING TO US, THE ABJECT CRIMINAL LIES THEY
TELL IN COURTS.  

Thank you from Andy Clark 541.510.3915




                                           EXHIBIT 1 Page 73 of 90
                Case 6:20-cv-00253-AA               Document 78-1                  Filed 05/04/20   Page 74 of 90

10/18/13                                           Phoenix - News - Valley Fever - Print Version


                                                                                                                          [>




   Sheriff Joe Arpaio’s Favorite Law Firm,
   Ogletree Deakins, Cost Taxpayers $2.4
   Million — in Just Two Years
   By Sarah Fenske
   Published Wed., May 26 2010 at 8:00 AM

                           The battle for control of Maricopa County -- pitting Sheriff Joe Arpaio and County
                           Attorney Andrew Thomas against the Board of Supervisors, judges, and county
                           administrators -- has been costly to both taxpayers and the parties involved.

                            But it's been a major boon to one local law firm.

                           Ogletree Deakins, a relatively obscure firm specializing in employment law,
                           became Arpaio and Thomas' go-to legal counsel just as the disputes were heating
      L. Eric Dowell       up. And, according to public records obtained by New Times, the firm has billed
      rainmaker            the county for a staggering $2.49 million since January 2009.

                       Most of the work had little to do with employment law -- and most of the firm's
   representation has been unsuccessful, legally speaking.
                                                                                                          I
                                                                                                          »
   Ogletree Deakins has fought for the sheriffs right to take over the county's computer system. They
   tried to argue that the supervisors didn't have the right to sweep money from funds controlled by
   Thomas and Arpaio. They're currently pressing Arpaio's assertion that he shouldn't have to open his
   books to county auditors.

   And, according to the billing records we looked at, it appears likely that Ogletree lawyers may have
   even been behind one of Arpaio/Thomas’ biggest embarassments: the criminal charges they filed
   against the county's presiding criminal court judge, Gary Donahoe.                      *

   As New Times first reported earlier this month, prosecutors filed criminal charges against Donahoe
   without bothering to seek a grand jury indictment. They simply filed a direct complaint, and attached
   a "probable cause" statement that, almost word for word, matched a complaint that the sheriffs office
   had filed with the Arizona Commission on Judicial Conduct one week before. That complaint, detailing
   a conspiracy theorist's view of Judge Donahoe's conduct, was signed by Arpaio's chief deputy, David
   Hendershott.

    It now appears that Hendershott had some help penning the letter.                                               Z-L
   According to its billing statements, Ogletree charged the county $27,310 for something titled "MCSO
   State Bar/Judicial." The first two invoices with that notation were submitted on December 1, 2009 --
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                                                         EXHIBIT 1 Page 74 of 90
                  Case 6:20-cv-00253-AA    Document 78-1                   Filed 05/04/20   Page 75 of 90

10/18/13                                   Phoenix - News - Valley Fever - Print Version

  just one day after Hendershott filed "his" complaint with the judicial conduct commission.

  So did an employment law specialist draft the document that became the basis for the criminal charges
  against the county's presiding criminal court judge? If nothing else, it w^ould explain why the document
  drew guffaws from seasoned prosecutors. Ogletree's lawyers were likely in way over their heads. (And
  really, what was prosecutor Lisa Aubuchon thinking, merely regurgitating Ogletree's letter as a
  criminal complaint?)

  According to the billing statements examined by New Times, Ogletree also advised Andrew Thomas
  on matters involving the State Bar. (That cost the taxpayers $18,929). And, they advised either
  Arpaio or Thomas — the billings aren't clear -- about issues relating to the selection of a new county
  attorney. (That cost us another $12,762.)

  Finally, Ogletree billed the county a staggering $1.2 million for something described only as "contract
  compliance." County Spokeswoman Cari Gerchick told New Times that county administrators have no
  idea what that means.

  We contacted L. Eric Dowell, a shareholder at Ogletree Deakins and the sheriffs lawyer of choice, to
  ask about the "contract compliance" payments, but we hadn't heard back by press time. We'll post an
  update if we get an answer.

  In the mean time, looking at the wasted $2.4 million and the unexplained $1.2 million and the tens of
  thousands of dollars for failed legal adventures -- well, we never thought we'd say this, but we actually
  miss Dennis Wilenchik. Yes, New Times disagreed with Wilenchik on just about everything. But
  Wilenchik handled some pretty tough cases for Arpaio, not just political crap that should have never
  made its way to a docket,

  And Wilenchik, unlike the sheriffs new $2-million-counsel, actually knew how to win.




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                                            EXHIBIT 1 Page 75 of 90
                                Case 6:20-cv-00253-AA       Document 78-1                 Filed 05/04/20   Page 76 of 90

10/18/13                                                    Phoenix- News - Valley Fever - Print Version




  Andrew Thomas Hired Ogletree Deakins
  for Racketeering Suit, Grand Jury
  Investigation into Sheriff Joe Arpaio
  By Sarah Fenske
  Published Fri., May 28 2010 at 11:44 AM




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                                         As county attorney, Andrew Thomas hired Ogletree Deakins
                                         to defend the sheriffs office from a grand jury investigation.




  You can file this one under "WTF??!?!"

 Turns out Maricopa County Sheriff Joe Arpaio's favorite law firm, which specializes in employment
 law, was brought in to help with both the crappy racketeering lawsuit Arpaio and then-County
 Attorney Andrew Thomas filed against county officials last year — and the federal grand iurv now
 looking into Arpaio and Thomas as well.

  And the taxpayers are footing the bill for Ogletree Deakins1 involvement in both cases, records show.

  Here's the deal.

 In December 2009, County Attorney Thomas filed a racketeering lawsuit, accusing county officials,
 judges, and their lawyers of being part of a broadly defined "criminal enterprise." The suit drew
 consternation — and even laughter — from experienced lawyers, and Thomas withdrew it a few

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                                                            EXHIBIT 1 Page 76 of 90
                   Case 6:20-cv-00253-AA                        Document 78-1                Filed 05/04/20   Page 77 of 90

10/18/13                                                        Phoenix- News - ValleyFever - Print Version

  months later, without proving a single one of its allegations.

  Records obtained by New Times on Wednesday show that Thomas’s office had a bit of help with the
  suit.

  On December 21, three weeks after the suit was filed, Thomas hired the law firm Ogletree Deakins to
  assist with the lawsuit, records show.

  And while that firm had become the favored private counselors of both Thomas and Sheriff Joe
  Arpaio, it specializes in employment law — not rackeeteering statutes, which are incredibly complex.

  The firm assisted with the racketeering suit from December 21 to January 6, according to records.
  That period coincides with a period of intense activity on the matter in question. After Thomas filed
  the initial lawsuit December 1, defense attorneys for the dozen named county officials quickly struck
  back with detailed — and compelling — arguments for its dismissal. Thomas' office ultimately filed an
  amended complaint January 14, attempting to restate its original claims and buy time.

  But even that didn't do much to help the county attorney’s case. Judge Murray Snow rejected the
  amended complaint, saying Thomas' office had missed a procedural deadline. Forced to defend the
  initial claim, and facing a strong possibility of outright dismissal, Thomas withdrew the suit.

  In its letter confirming Ogletree's hire, the county attorney’s office asked the firm to report to Rachel
  Alexander, the deputy countv attorney assigned to the case after the initial filing. Which leaves us
  wondering: Is Alexander to blame for missing the deadline for the amended complaint? Or was it the
  fault of the handsomely paid lawyers at Ogletree?

  One thing is clear: The firm wasn't taken off the case due to any unhappiness on the county attorney's
  part.

  Just two days after the firm was taken off the RICO case, Thomas' office assigned it to help the
  sheriffs office deal with a potentially more explosive matter — the grand jury investigation focused on
  Sheriff Joe Arpaio's abuse of power.

  "As part of this advisory representation, your firm or any other advisory counsel you retain may be
  expected to accompany witnesses to the grand jury, handle requests for records, file pleadings, or
  participate in any other matter that represents the organizational interests of the MCSO," wrote Chief
  Assistant County Attorney Sally Wells.

  Naturally, we find it funny that the sheriff/county attorney would retain an employment law firm for
  a criminal matter. But, more importantly, we have to wonder if the hiring was proper. After all, county
  policy says that the taxpayers will only hire legal counsel for employees who are witnesses to a grand
  jury — not targets.

   The sheriffs office is indisputably a target in this grand jury investigation.

   Furthermore, in her letter, Wells told Ogletree to report to the sheriffs chief deputy, David
   Hendershott. Hendershott is believed to also be a person of interest or target of the investigation, not
   merely a "witness."
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                                                                EXHIBIT 1 Page 77 of 90
            Case 6:20-cv-00253-AA         Document 78-1                 Filed 05/04/20   Page 78 of 90

10/18/13                                   Phoenix- News - ValleyFe\er • Print Version



  So is the county paying for lawyers to advise Hendershott? What about Arpaio?

  We simply don't know. But records show that Ogletree Deakins has been paid $2.4 million to represent
  Arpaio and Thomas from January 2009 to date.

  We asked the spokesman for the new county attorney, Bill Fitzgerald, about all this. We asked if
  County Attorney Rick Romley -- an Arpaio opponent who's now replaced Thomas -- had concerns
  about these contracts, which his office is tasked with supervising.

  Fitzgerald said the office had no comment at this time.

  A spokeswoman for the sheriffs office, Lisa Allen, didn’t return our call for comment.




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                           *

                                           EXHIBIT 1 Page 78 of 90
                     Case 6:20-cv-00253-AA                            Document 78-1                      Filed 05/04/20         Page 79 of 90

   10/18/13                                            Sheriff Jos Arpaio Loses Appeals Court Ruling Allowing False
                                                                                                                    Arrest Lawsuit
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                  Elise Foley
              i4eiise@hUffingtonpost.comsjleriff joe Arpaio Loses Appea
                                                                        ls Court Ruling
           Allowing False Arrest Lawsuit
           Posted: 08/29/2012 6:36 pm Updated: 08/29/20
                                                       12 6:51 pm



                                                            Arizona Sheriff Joe Arpaio might want to get ready to spend
                                                                                                                         more time in court defending himself.
                                                            The U.S. 9th Circuit Court of Appeals ruled Wednesday
                                                                                                                     that two news executives for the Phoenix
                                                            New Times can sue the Maricopa County sheriff’s office
                                                                                                                    for their 2007 arrests.
                                                                  The men, newspaper co-owners Michael Lacey and Jim
                                                                                                                              Larkin, were arrested at their homes in
                                                                  the middle of the night after their publication reporte
                                                                                                                             d the sheriff’s office planned to use a
                                                                  subpoena to figure out who was talking to journal
                                                                                                                         ists about Arpaio. Arpaio's allies drafted
                                                                  subpoenas that "demanded that the paper reveal its
              Wic,                                                                                                          confidential sources as well as produce
                                                             jgpg reporters’ and editors' notebooks, memoranda, and documents" related
                                                                                                                                               to stories about Arpaio,
            Marfcopa County Shwitf Joe Arpaio laces a iatee       according to the court ruling. The New Times refused
            arrest lawsuit as a result of a federal appeals court                                                        , leading to misdemeanor charges against
                                                                  Lacey and Larkin of disclosing grand jury inner working
            ruling, (AP Rioto/Ross 0. Frarldir)                                                                           s. The charges were dropped the next day.
                                                                  The two executives attempted to sue Arpaio for $15 million
           falsely arrested them, violated their right to due proces                                                           in 2008. alleging that the sheriffs office
                                                                               s and targeted them for selective prosecution. A lower
           ruling overturned by the federal appeals court.                                                                              court dismissed that lawsuit, a

          "Sheriff Arpaio should have known that arresting someo
                                                                       ne at his home requires a warrant, unless there are
          appeals court opinion said. "We cannot fathom what exigen                                                             exigent circumstances," the
                                                                         t circumstances compelled either arresL”
          Arpaio spokeswoman Lisa Allen told Bloomberg that
                                                                    Arpaio is unable to comment because he is in Tampa
          Convention. "Upon his return, I'm certain he will review                                                              for the Republican National
                                                                   the court’s decision," she said.
          NewTimes editor-in-chief Rick Barrs applauded the court
                                                                       decision, telling HuffPost that Arpaio will now "have to
                                                                                                                                answer for it in court."
          "What Joe Arpaio spearheaded, in cahoots with since-d
                                                                     isbarred, ex-County Attorney Andrew Thomas, was a travest
                                                                                                                                     y of justice," Barrs said,
          The weekly paper, part of the Village Voice network, has
                                                                      reported extensively on Arpaio since the mid-f 990s.
          Arpaio already faces a lawsuit alleging racial profiling
                                                                   in his department by civil rights groups. The Department
          office in May, also based on claims of racial profiling.                                                          of Justice sued. Arpaio's

          UPDATE: 6:45 p.m. •• Lacey, the newspaper co-owner,
                                                              responded                    to the ruling with this statement:
          Sheriff Joe Arpaio's arrest and jailing of journalists is part of
          he loves the publicity, even when it backfires. Arpaio relishe a pattern of trying to silence critics. It is an outrageous abuse of power. But
                                                                            s law enforcement by headline. Today he rounds up Mexica
          target is anybody's guess.                                                                                                    ns. Tomorrow's




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                                                                       EXHIBIT 1 Page 79 of 90
                       Case 6:20-cv-00253-AA                                       Document 78-1                  Filed 05/04/20            Page 80 of 90

10/18/13                                                                  Stapley files a claim vs. Arpaio, Thomas, alleging false arrest


    October 18, 2013 |                                                                                11:33 pm I 68°



    Valley & State




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    Staple^ies a claim vs. Arpaio, Thomas, alleging false arrest
    _______i>.   ii        p^.


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    An attorney representing Maricopa County Supervisor Don Stapley filed a notice of claim
    against county officials Friday.

    The claim alleges false arrest and malicious prosecution, among other accusations. The
    claim names Sheriff Joe Arpaio, Chief Deputy Dave Hendershott and County Attorney
    AndrewThomas.

    A notice of claim is the first step toward filing a lawsuit against a government entity.

    Stapley, who is chairman of the Board of Supervisors, referred calls to attorney Merwin
    Grant.

    "It's a protective filing," Grant said. "We anticipate that other facts will be put forward in
    the near future. And so, we may amend the notice."

    Stapley and his wife, Kathy, will settle for $5 million, according to the claim. According to
    the document, the events over the last year and a half have caused the Stapleys
    humiliation, emotional distress, health issues and "loss of consortium," referring to loss of
    spousal relationship.

    Maricopa County spokeswoman Cari Gerchick said the claim will be handled just like "any
    other person who would file a claim, However that impacts Mr. Stapley as chairman, we'i!
    deal with it appropriately and ethically."

    Arpaio wouldn't comment on the specifics of the claim, but allegations that the Sheriffs
    Office abuses its power, which are included in the claim, have become a familiar refrain
    he said.

    "It's like 'boots on the ground,' just another buzz word," he said. "It doesn't concern me
    because I know my office runs a very professional operation."

    Barnett Lotstein, a spokesman for Thomas, would not comment on the substance of the
    claim, but said, "Two grand juries made up of citizens of Maricopa County did return
    indictments finding probable cause against Mr. Stapley in the criminal matters."

    He noted that Yavapai County Attorney Sheila Polk, who prosecuted the first case against
    Stapley and was overseeing the investigation of the second case against him, said under
    oath that both cases had merit.

    In November 2008, a grand jury indicted Stapley on 118 counts related to his personal
    financial-disclosure forms. In August 2009, a judge dismissed many of the counts, and
    prosecutors tater dismissed the rest in mid-September.Stapley thought his legal battles
    were over.

    But three days later, deputies took Stapley into custody in the county parking garage on                                                            3
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                                                                                   EXHIBIT 1 Page 80 of 90
                           Case 6:20-cv-00253-AA                           Document 78-1       Filed 05/04/20              Page 81 of 90
   10/18/13
                                                          Stapleyfiles a claim vs. Arpaio, Thomas, alleging false arrest
        counts of fraud and theft related to his campaign for
                                                              a leadership position with the
        National Association of Counties.

       "They put me in a patrol car," Stapley told The Republ
                                                              ic last month. "(They) took me to
       the First Avenue Jail, booked me in, took photos, fingerpr
                                                                  inting, the whole thing a second
       time, and put me in an isolation cell."

       No prosecutor filed charges.

       Then, last December, a grand jury indicted Stapley
                                                               on 22 felony charges including theft,
       fraud, perjury and forgery, all largely related to his fundrais
                                                                       ing efforts for the national
       organization.

       Last month, a judge threw out an unrelated case against
                                                                 fellow Supervisor Mary Rose
       Wilcox. Hours later, Thomas filed a motion to dismiss
                                                             the Stapley indictment because of
       similar underlying legal problems.

       Stapley told The Republic the legal fights have cost
                                                               his family $1.25 million. Under the
       statute, Stapley had to file notice of claim within 180
                                                               days of the alleged wrongful event,
       in this case, wrongful arrest. The deadline to file is next
                                                                   week.
      Typically, the supervisors must approve settlement
                                                         agreements.

      Given Stapley's position, however, Gerchicksaid officials
                                                                will take extra care to maintain
      neutrality: 'This is a unique situation, which we have
                                                             never faced before - it's
      unprecedented," she said.

      Reporters JJ Hensley and Michael Kiefer contrib
                                                     uted to this article.
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          •       Muo shots in the news: Oct 6-12
          •       Arizona made the list!
          •       Government re-opens; Obama blasts opponents.
                  savs U.S. credibility damaged
          •       Rare whale found dead in Southern California
          •       Obama signs bii averting default on debt, ending
                  shutdow n
         •        Guilty plea in Las Vecas to having sex on airplane
         •        Today in U.S. history: October
         •        House worker veils during vote, escorted awav
         •        Bishop buys S42 million home, stirs uoroar




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                Case 6:20-cv-00253-AA                              Document 78-1               Filed 05/04/20         Page 82 of 90


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 Ariz. County Seeks To Debar Ogletree Deakins                                                            Related
                                                                                                         Sections
 By Lana Girbrair                                                  0 Comments   Share us on:
                                                                                                              Class Action
                                                                                                              Government Contracts
 Law360, New York (July 05, 2012, 8:51 PM ET) -- Arizona’s Maricopa County has sought to
                                                                                                         Legal Industry
 prevent Ogletree Deakins Nash Smoak & Stewart PC from serving as a contractor for the
                                                                                                         Law Firms
 county and has amended class claims that accuse the firm of 300 billing errors, including                          Cavgnagh Law Firm
 billing clients associate attorney rates for the work of recent law school graduates, the county
                                                                                                                    Ogletree Deakins
 confirmed Thursday.
                                                                                                         sfeiiiSi Sherman & Howard



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          Primary area of interest
           F] Class Action                           | : Government Contracts
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 In a notice sent to Ogletree on Monday, the county informed the employment boutique that it
 had filed a debarment action to prohibit the firm from doing business with the county, even as
 a subcontractor, for three years. It was the first time in the county's history that it had moved
 to debar a vendor, according to the county.


 Ogletree responded Thursday that it no longer wanted to do any business with the county
 and noted that it had already sent refund checks to the county in response to claims that it
 had overbilled the county by charging attorney rates for the work of law school graduates
 who had not yet passed the bar, including a check sent in late June for almost $28,000.


 "Ogletree made clear in October 2010 that it has no intention to do business with Maricopa
  County in the future," said John Doran of Sherman & Howard LLC, an attorney for the firm.
  "Nevertheless, Ogletree continues to look for common ground on which to resolve its long­
  standing issues with the county. The county has previously identified two instances where
  employee time was supposedly billed incorrectly, and Ogletree has issued refunds even
  though it disagrees with the county's position."


  In its notice. Maricopa County referred to its long-running battle with Ogletree over $1.1
  million in disputed charges, during which Ogletree has allegedly refused to participate in an
  audit of the firm’s legal services.


  The county has accused the firm of listing nonattorneys in its personnel database as
  associates when they begin working at the firm after law school but before they have been
  admitted to the bar, leading to $170,000 in charges on the services of employees who were
  fraudulently represented to be attorneys.
                                                                                                                                   3V
  In an amended class counter-claim filed last week, Maricopa County also increased the



                                                                   EXHIBIT 1 Page 82 of 90
               Case 6:20-cv-00253-AA                        Document 78-1                 Filed 05/04/20   Page 83 of 90

number of such alleged billing errors from nearly 40 to about 300. with additional errors
including billing associates at the rate of senior partners.


Maricopa County claims taxpayers spent more than $170,000 on the services of nonlawyers
who were fraudulently represented to be attorneys. $197,000 on attorneys who were charged
at higher categories than desen/ed and $20,000 for librarians, office assistants and other
employees whose time was added to billings in violation of the county's contract. The county
says Ogietree's behavior violates its contract and constitutes fraud.


"The number of errors contained in the incomplete bills that we have received from Ogietree
is rather stunning and it adds extra urgency for the need for a comprehensive audit of all of
Ogietree billings," Maricopa County spokeswoman Carl Gerchick said. "In addition, the fact
that Maricopa County has sent a 'notice of intent to debar' this vendor... from doing business
with the county for a period of time shows our commitment to having accountability and
transparency in the procurement process."


The instant suit reasserts the county’s claim that Ogietree should be subject to an extensive
audit in a dispute stemming (rom the county's allegations that Ogietree violated both the legal
services provider contract and procurement code by improperly expanding the scope of
assignments and representation and overcharging for services it did not request or approve.


When the county's board of supervisors voted unanimously to terminate its legal services
contract with Ogietree in September 2010, it had $1.1 million in outstanding charges,
according to the complaint.


In a series of claims and counterclaims that have traveled between state court, alternative
dispute resolution and attempts at nonbinding arbitration, Ogietree allegedly sought to
recover the outstanding charges while the county tried to audit the firm's legal records in an
attempt to show that Ogietree had racked up $5 million in billings while improperly
subcontracting out legal work to firms that did not appear on a list of vendors the county had
approved, in violation of the contract with Ogietree.


Maricopa County is represented by Julie Pace and David Selden of The Cavanagh Law Firm
PA.


Ogietree is represented by John Doran of Sherman & Howard LLC.


The case is Maricopa County v. Ogietree Deakins Nash Smoak & Stewart PC, case number
CV2011-002493, in the Superior Court of Arizona, Maricopa County.


 Editing by Katherine Rautenberg.



Related Articles


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                                                            EXHIBIT 1 Page 83 of 90
                          Case 6:20-cv-00253-AA                                   Document 78-1                            Filed 05/04/20   Page 84 of 90

   10/19/13
                                                                                   Ogletree Dea^ns loses another group of lawyers


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   Ogletree Deakins loses another
   group of lawyers
  Firm has seen the departure of 12 lawyers in two weeks

  BY CATHLEEN FLAHARDY
  May 3, 2013 • Reprints



                                                                                 Anyone who didn’t know any
                                                                                 better may wonder if a mass
                                                                                 exodus was afoot at Atlanta-
                                                                                 based law firm Ogletree
                                                                                 Deakins Nash Smoak &
                                                                                 Stewart.

                                                    This week, the firm accepted
                                                    the resignation of six lawyers
                                                    —all of whom are expected to
                                                    head over to competing labor
                                                    and employment firm Littler
 Mendelson. Last week, the firm lost another six lawyers. And all of them also
 jumped ship for Littler.

 The 12-lawyer exodus is all happening in the wake of the departure of Ogletree's
 former vice president and shareholder Don Prophete. Amid what seems to have
 been some major in-house drama, Prophete tendered his resignation in March,
 claiming the firm had mistreated a fellow Ogletree colleague. Last week, Prophete
 announced he was going to Littler... and he was taking six Ogletree lawyers with
 him.

 One of the lawyers who left with Phophete told Thomson Reuters the weeks
 leading up to his resignation were “chaotic” and everyone was “waiting to see
 what would happen next.”

 Above the Law has a detailed story about the events leading up to Prophete's
 departure, including excerpts from his scathing resignation letter.

 Ogletree Deakins Managing Shareholder Kim Ebert said the firm is disappointed
 the lawyers are leaving, but their departure will not impact Ogletree's commitment
 to its clients or its growth model, pointing out that the firm has opened two offices
 and added 15 lateral shareholders this year.

 “While we hate to see these 12 attorneys leave, we have more than 650 lawyers
 who successfully practice with us in 44 offices, and our focus is on them and our
 outstanding clients," he says.

Ebert also said that the 12 lawyers to leave with Prophete are far fewer than the
                                                                                                                                                     (
former Ogletree shareholder claimed would follow him. “Only four of the 20
lawyers in Kansas City (where Prophete was based) have chosen to join him,                                                                       3
and those lawyers who had worked with him the longest have chosen to stay with
our firm,” Ebert adds.

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                                                                                   EXHIBIT 1 Page 84 of 90
                   Case 6:20-cv-00253-AA                              Document 78-1           Filed 05/04/20              Page 85 of 90

10/19/13                                 OgletreeDeakins Made 299 Billing Errors, Maricopa County Alleges; Firm Disputes Error Claims


  Attorney Fees


  Ogfetree Deakins Made 299 Billing Errors, Maricopa County Alleges; Firm
  Disputes Error Claims
  Posted Jui 11, 2012 5:29 AM CDT
  By Debra Cassens Weiss

  Updated: Arizona's Maricopa County says it has identified 299 billing errors by its former law firm Ogletree, Deakins,
  Nash, Smoak and Stewart—and they may be "only the tip of the iceberg."

  In a proposed second amended complaint filed on Monday, the county detailed the alleged 299 billing errors by the
  law firm, up from 36 errors alleged in an earlier version of the suit. The county also complains that Ogletree failed to
  cooperate in an audit, used subcontractor law firms that didn't conform to the county contract, and billed for
  unapproved services such as issuing media statements.

  The largest number of alleged billing errors—227 in all—were due to Ogletree misclassifying 11 lawyers at higher
  experience levels than authorized by the contract, the proposed amended complaint says,

  A June 2010 contract specified rates for associates, senior associates, partners and senior partners, and set the
  minimum years of experience necessary for each category, the county says. Permitted rates ranged from $125 an
  hour for associates with a minimum of one year of experience to $250 an hour for senior partners with at least 12
  years of experience. A prior contract allowed the law firm to charge $275 an hour for all attorney services.

  In some instances, Ogletree billed associates as partners and even senior partners, the proposed complaint says.
  The mistakes were “so extensive, so frequent, and so systemic that the conclusion is inescapable that when the
  county implemented lower billing rates for attorneys on June 1, 2010, Ogletree's Phoenix and national management
  made the decision to overcharge the county and thereby to lessen the effects upon Ogletree of the county’s new,
  reduced billing rate structure,” the county alleges.

  The proposed complaint claims breach of contract, breach of fiduciary duty and fraud. It seeks class action status
  based on the claim that Ogletree improperly bills other public sector clients by classifying law graduates as
  associates even though they have have not yet passed the bar.

   The court document alleges 37 instances of billing two nonattorney law grads as associates, despite a contract ban
   on such a practice. The suit also claims 35 instances of billing for 11 specialists such as librarians and information
   technology specialists. The firm is allowed to bill only for lawyers and paralegals, the county says.

   The county claims the errors involve excessivs charges of more than $300,000. Ogletree, on the other hand, claims
   the county owes nearly $1 million dollars in unpaid legal bills.

   So far, Ogletree has agreed to refund $78,000 for billing errors, according to Maricopa County communications
   director Cari Gerchick. The county is seeking to debar the firm from contracting work with the county for three years.

   A lawyer representing Ogletree in the litigation, John Doran of Sherman & Howard in Phoenix, says the dispute is
   over the contract interpretation. "There are not 299 billing errors or anything close to that number," he tells the ABA
   Journal in an email.

   Doran says there were a few instances where it was debatable whether Ogletree could bill law grads as associates
   under the contract, and Ogletree reimbursed the county for those time entries. "The vast majority of the remaining
   time entries alluded to by the county consist of contract interpretation questions, not demonstrated billing errors,"
   Doran says.

   He points to one example involving billing entries for an of counsel lawyer who had enough years of experience to
   qualify for the billing rate charged. "But the county is improperly and semantically focusing on his title as 'of counsel'             ^
   rather than his years of service to argue that Ogletree could not bill his time at all, let alone bill at the contractual
   rate," Doran says. "Virtually all of the challenged time entries are of this ilk. It is also important to note that all of the
   work Ogletree billed for was performed at the highest level, and nobody has ever suggested otherwise. We would also
   be remiss were we not to mention the fact that the county has not even paid Ogletree for virtually all of these time
   entries, so their claim is difficult to understand in any event."
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                                                                       EXHIBIT 1 Page 85 of 90
               Case 6:20-cv-00253-AA            Document 78-1                 Filed 05/04/20              Page 86 of 90

10/19/13                           Ogietree Deakins Sues Client Entity, Maricopa County, for Defamation


  Ogietree Deakins Sues Client Entity, Maricopa County, for Defamation
  By Martha Neil
  Sep 22, 2011.07:24 pm CDT

                                                                                             seeking
  A well-known labor and employment law firm has filed suit against Maricopa County, Ariz.,
                                                                           officials terminati ng its
  damages for claimed defamatory statements made in a letter from county
  services.
                                                                                                    of
   It "contained false and defamatory statements including, among other things, accusing Ogietree
   unethical and possibly criminal conduct and of acting in an unreasonable manner/' contends
                                                                                               y in
   Ogietree Deakins Nash Smoak & Stewart in the complaint (PDF) the law firm filed yesterda
   Maricopa County District Court.
                                                                                                  letter to
   The suit also alleges, on information and belief, that the county republished the termination
                                                                                                  and
   a broader circle than those who needed to see it and "intentionally leak[ed] misstatements
   half-truths to the media for the purpose of impugning the integrity and business   practices of
   Ogietree."

  Among other relief, the complaint seeks damages for alleged defamation per se which, if proven
  would entitle the law firm to compensation for injury to its professional reputation without showing
\ actual out-of-pocket loss in the same amount.
v   As an Arizona Republic article notes, the lawsuit follows a hard-fought political battle between
    county's board of supervisors and the county sheriff and county attorney's office.

    Former County Attorney Andrew Thomas is currently facing a legal ethics trial, and ethics
    complaints have also been made against others, including a couple of Ogietree lawyers.
                                                                                                 the
    The county, which has been arguing with the law firm about Ogletree’s unpaid bills, declined
    Republic's request for comment on the defamation suit.

     Related coverage:




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                                                 EXHIBIT 1 Page 86 of 90
 Case 6:20-cv-00253-AA                              Document 78-1         Filed 05/04/20           Page 87 of 90

                                                                                            HICHAEL K. JEANES
                                                                                    Clerk of the Superior Court
                                                                                             By Kristy Kee> Deputy
                                                                                         Date 09/31/2011 Use 16:28:08
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                         John Alan Doran (AZ Bar No. 012112)                                                           301.00
     4                       tJDoran@Shermanlloward.com)                                      Receipts 21651368
                          Jamey G. Anderson (AZ Bar 024920)
     5                     (Janderson@ShermanHoward.com)
                     Attorneys for Plaintiff Ogletree, Deakins, Nash,      ^XAAa/’V^               o   f-
     6                           Smoak & Stewart, P.C.

     7                                                                  aQa wst
                            IN THE SUPERIOR COURT OF THE STATE OF
     8                                                            ARIZONA
                                       IN AND FOR THE COUNTY OF MARICOPA
     9
              OGLETREE, DEAKINS, NASH,
 10           SMOAK & STEWART, P.C., a South
              Carolina professional corporation,
                                                                        Case No.      CV2011-017664
 U
 12                                                    Plaintiff,        COMPLAINT
              v.
     3
              MARICOPA COUNTY, a political
 14           subdivision of the State of Arizona,
                                                                               0$
                                                         Defendant.
                                                                                a., c 'o PA                        A 1-
16
17                  Plaintiff Ogletree, Deakins, Nash, Smoak & Stewa
                                                                          rt, P.C. (“Ogletree”), a South
18           Carolina professional corporation, by and through its
                                                                    undersigned counsel, respectfully
19           submits its Complaint and affirmatively alleges as follow
                                                                       s:
20                    1.   Ogletree is a national labor and employment law
                                                                           firm with an office
21           located in and doing business in Maricopa County, Arizo
                                                                     na.
22                    2.   Defendant Maricopa County (the “County”) is a politi
                                                                                cal subdivision of
23           the State of Arizona.
24                    3.    This Court has jurisdiction pursuant to A.R.S. §
                                                                             12-321 and venue is
25           proper in this Court.
26                   4.    Prior to September 2010, Ogletree was an appro
                                                                                  ved vendor on the
27           County’s list of outside counsel and was awarded severa
                                                                     l contracts for legal services.
28

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                                                     EXHIBIT 1 Page 87 of 90
     Case 6:20-cv-00253-AA                 Document 78-1          Filed 05/04/20        Page 88 of 90




          I                5. Pursuant to a letter dated September 22, 2010, and signe
                                                                                       d by David R.
      2          Smith, County Manager, (the “Termination Letter”) the
                                                                       County terminated Ogletree and
      3          removed Ogletree from the County’s approved list of outsid
                                                                           e counsel.
      4                   6. David R. Smith was acting in his official capacity, for and
                                                                                         on behalf of the
      3          County when he drafted and published the Termination
                                                                       Letter.
      6                   7.   The Termination Letter contained false and defam
                                                                                         atory statements
      7          including, among other things, accusing Ogletree of
                                                                          unethical and possibly criminal
      8          conduct and of acting in an unreasonable manner.
      9                 8.    The defamatory statements contained in the Terminatio
                                                                                       n Letter are false.
     10                 9.    Upon information and belief, the County made unprivilege
                                                                                            d publications
 11             and republications of the Termination Letter and the
                                                                          defamatory statements therein,
 12             including causing the defamatory statements to be
                                                                             published by reporters and
 13             intentionally leaking misstatements and half-truths to
                                                                           the media for the purpose of
 14             impugning the integrity and business practices of Oglet
                                                                        ree.
 15                     10.   The County, through its agents David Smith, Julie Pace,
                                                                                           David Selden,
 16            and Cari Gerchick, repeatedly published the defam
                                                                         atory statements beginning in
 17            January 2011, and continuing to the present, and said
                                                                        publications were not privileged
 18            in any manner.
 19                     11.  Ogletree has met the jurisdictional prerequisites for suit
                                                                                        with respect to the
20             defamatory conduct alleged herein by filing a timely
                                                                        Notice of Claim in accordance
21             with A.R.S. § 12-82l.01(A).
22                      12.At the time the defamatory statements were published,
                                                                                 the County knew
23            the defamatory statements were false.
24                      13. At the time the defamatory statements were published,
                                                                                       the County acted
25            with reckless disregard for the strong likelihood that the
                                                                         statements were false.
26                    14.   The defamatory statements were
                                                               part of a baseless campaign to smear the
27
              reputation of Ogletree, one of the nation’s largest
oe
                                                                         and most respected labor and

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                                            EXHIBIT 1 Page 88 of 90
 Case 6:20-cv-00253-AA                    Document 78-1        Filed 05/04/20      Page 89 of 90




     1    employment law firms.
 2                 15.        The County published, or caused to be published, the defamatory
 3       statements with the intent to damage Ogletree’s reputation and acted with actual malice
 4       when publishing the defamatory statements.
 5                 16.        The defamatory statements tended to impeach the honesty, integrity and
 6       reputation of Ogletree and injured Ogietree in its trade and/or profession and are
 7       defamatory per se.
 8                 17.        As a direct and proximate result of the County’s acts, Ogletree has
 9       suffered, and will continue to suffer, damages in an amount to be proven at trial.
10                 18.        The County’s conduct was intentional and was outrageous, such that a
ll       trier of fact can infer the intent to injure Ogletree. Therefore, Ogletree is entitled to
12       recover punitive damages in an amount to be proven at trial.
13                 19.        In light of the foregoing, Defendants should be enjoined from making
14       additional defamatory statements regarding Ogletree and/or from further circulating the
15       defamatory statements.
16                WHEREFORE, Ogletree prays that this Court enter judgment as follows:
17                a.  Granting preliminary injunctive relief ordering that the County
18       immediately cease and desist publishing the defamatory statements or similar or other
19       defamatory statements;
20                b.          Awarding Ogletree, Deakins, Nash, Smoak & Stewart, P.C. compensatory
21       damages in an amount to be proven at trial, plus post-judgment interest thereon, at the
22       legal rate, until paid in full;
23                c.          Awarding Ogletree, Deakins, Nash, Smoak & Stewart, P.C. punitive
24       damages in an amount necessary to deter the County and others from engaging in such
25       tortious conduct, plus post-judgment interest thereon, at the legal rate, until paid in full;
26               d.    Awarding Ogletree, Deakins, Nash, Smoak & Stewart, P.C. its taxable
27
         costs pursuant to A.R.S. § 12-341, plus interest thereon, at the legal rate, until paid in
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                                           EXHIBIT 1 Page 89 of 90
Case 6:20-cv-00253-AA           Document 78-1          Filed 05/04/20     Page 90 of 90




     full; and
2           e.       Awarding Ogletree, Deakins, Nash, Smoak & Stewart, P.C. such other
3    and further relief as the Court deems just and proper.
4
 5           DATED this 2151 day of September, 2011
6                                             SHERMAN & HOWARD L.L.C
 7
 8
                                               Jo' Alan Doran / / \
 9                                               tuey G. Andersorv
                                              '201 East Washington Street, Suite 800
10                                             Phoenix, Arizona 85004-2327
                                               Attorneys for Plaintiff
11                                             Ogletree, Deakins, Nash, Smoak &
                                               Stewart, P.C.
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                                 EXHIBIT 1 Page 90 of 90
